Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 1 of 60 PageID #: 7007



                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

ACORDA THERAPEUTICS, INC., et al.             )
                                              )
                     Plaintiffs,              )
                                              )
       v.                                     )     C.A. No. 14-882 (LPS)
                                              )     (CONSOLIDATED)
ROXANE LABORATORIES, INC., et al.             )
                                              )
                     Defendants.              )


                   DEFENDANTS’ PROPOSED FINDINGS OF FACT


PHILLIPS, GOLDMAN, MCLAUGHLIN &               MORRIS JAMES LLP
HALL, P.A.
John C. Phillips, Jr. (#110)                  Richard K. Herrmann (#405)
Megan C. Haney (#5016)                        Mary B. Matterer (#2696)
1200 North Broom Street                       500 Delaware Avenue, Suite 1500
Wilmington, DE 19806                          Wilmington, DE 19801
(302) 655-4200                                (302) 888-6800
jcp@pgmhlaw.com                               rherrmann@morrisjames.com
mch@pgmhlaw.com                               mmatterer@morrisjames.com

and                                           and

Charles B. Klein                              Robert L. Florence
Samuel S. Park                                Karen L. Carroll
Bryce A. Cooper                               Michael L. Binns
WINSTON & STRAWN LLP                          PARKER POE ADAMS & BERNSTEIN
35 West Wacker Drive                          LLP
Chicago, Illinois 60601                       3355 Lenox Road, Suite 750
(312) 558-5600                                Atlanta, GA 30326

Attorneys for Defendants Apotex Corp.,        Attorneys for Defendant Mylan
Apotex Inc., Teva Pharmaceuticals USA Inc.,   Pharmaceuticals Inc.
and Roxane Laboratories, Inc.

Dated: September 30, 2016
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 2 of 60 PageID #: 7008



                                                TABLE OF CONTENTS

                                                                                                                                        Page

I.     Patents-in-Suit ......................................................................................................................1
       A.         The Elan Patent ........................................................................................................1
       B.         The Acorda Patents ..................................................................................................3
                  1.         The ’826 Patent ............................................................................................3
                  2.         The ’685 Patent ............................................................................................5
                  3.         The ’437 Patent ............................................................................................6
                  4.         The ’703 Patent ............................................................................................8
II.    Background ..........................................................................................................................9
       A.         Multiple Sclerosis ....................................................................................................9
       B.         History of 4-AP before Elan’s exclusive license to Acorda ..................................10
       C.         Ampyra® ...............................................................................................................12
III.   Witnesses ...........................................................................................................................12
       A.         Plaintiffs’ Fact Witnesses ......................................................................................12
       B.         Plaintiffs’ Expert Witnesses ...................................................................................12
       C.         Defendants’ Expert Witnesses ...............................................................................13
       D.         Witnesses Appearing by Deposition ......................................................................15
IV.    Claim Construction ............................................................................................................15
V.     The Patents-in-Suit are Obvious Over the Prior Art ..........................................................15
       A.         Person of Ordinary Skill in the Art ........................................................................15
       B.         The Asserted Claims of the Elan Patent are Prima Facie Obvious Because
                  They Claim a Known Drug For a Known Use With a Known Formulation
                  Type .......................................................................................................................16
                  1.         4-AP was known in the art .........................................................................16
                  2.         4-AP was known in the art to be useful in treating multiple
                             sclerosis ......................................................................................................17
                             a.         Stefoski I ........................................................................................17
                             b.         Davis ..............................................................................................18
                             c.         Knowledge of a POSA ...................................................................19
                  3.         Sustained release was known in the art......................................................20
                  4.         A POSA would know sustained release formulations have
                             significant advantages over immediate release formulations for
                             treating chronic conditions .........................................................................22


                                                                  -i-
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 3 of 60 PageID #: 7009



                5.        A POSA would know how to determine if a drug was suitable for a
                          sustained release formulation .....................................................................23
                6.        A POSA would have known that 4-AP satisfies the criteria for
                          being an attractive sustained release drug ..................................................24
                7.        A POSA would have known how to make a sustained release
                          formulation of 4-AP ...................................................................................27
      C.        The Asserted Claims of the Acorda Patents are Obvious Over the Prior Art
                Because They Simply Narrow the Elan Patent to Treat a Known Symptom
                of MS Using a Known Dose for an Obvious Period of Time Resulting in
                Known Pharmacokinetic Parameters .....................................................................29
                1.        The Elan patent discloses a known sustained release 4-AP
                          formulation to treat MS..............................................................................29
                2.        Additional prior art confirms that a sustained release formulation
                          of 4-AP was known....................................................................................31
                3.        The prior art taught that 10 mg of sustained release 4-AP was an
                          obvious choice ...........................................................................................34
                4.        The prior art taught that 4-AP was useful in improving walking
                          and/or walking speed .................................................................................36
                5.        The prior art specifically disclosed the pharmacokinetic (“PK”)
                          parameters claimed in the Acorda Patents, which also are inherent
                          to dosing with a 10 mg dose twice daily ....................................................38
                6.        Extending a stable dosing regimen to two weeks and beyond was
                          obvious .......................................................................................................40
VI.   Evidence of Secondary Considerations Cannot Rebut the Prima Facie
      Obviousness of the patents-in-suit .....................................................................................43
      A.        No Evidence of Unexpected Properties/Benefits ...................................................44
      B.        No Evidence That Amprya Satisfied a Long-Felt Need ........................................46
      C.        No Evidence of Failure of Others ..........................................................................47
      D.        Amyyra® is Not a Commercial Success ...............................................................48
                1.        Ampyra® Had a Limited Commercial Opportunity ..................................50
                2.        Given the limited opportunity, the opportunity costs, and risks,
                          Ampyra® was not economically profitable ...............................................51
                3.        The Elan patent has served as a blocking patent, limiting the
                          relevance of any success for the Acorda patents .......................................54
                4.        At best, the claimed nexus of Ampyra® to the patents-in-suit is
                          weak ...........................................................................................................55




                                                              - ii -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 4 of 60 PageID #: 7010



             TABLE OF ABBREVIATIONS AND KEY TECHNICAL TERMS

Elan Patent             United States Patent No. 5,540,938
Acorda Patents          United States Patent No. 8,007,826
                        United States Patent No. 8,354,437
                        United States Patent No. 8,440,703
                        United States Patent No. 8,663,685
Patents-in-Suit         Elan Patent and Acorda Patents, collectively
Asserted Claims         Claims of the patents-in-suit that Plaintiffs allege Defendants have
                        infringed
Plaintiffs              Acorda Therapeutics, Inc.
                        Alkermes Pharma Ireland Ltd.
Defendants              Roxane Laboratories, Inc., Teva Pharmaceuticals USA, Inc.,
                        Apotex Corp. and Apotex Inc., and Mylan Pharmaceuticals Inc.
Elan                    Elan Corporation, plc
Acorda                  Acorda Therapeutics, Inc.
USPTO                   United States Patent and Trademark Office
POSA                    A Person of Ordinary Skill in the Art
Cmin                    Minimum plasma concentration of the drug or active agent
Cmax                    Maximum plasma concentration of the drug or active agent
Tmax                    Time to maximum plasma concentration
CmaxSS                  Maximum plasma concentration of the drug or active agent at
                        steady state
CminSS                  Minimum plasma concentration of the drug or active agent at
                        steady state
CmaxSS:Cminss ratio     Ratio of the maximum plasma concentration of the drug or active
                        agent at steady state to the minimum plasma concentration of the
                        drug or active agent at steady state
CavSS                   Average maximum plasma concentration of the drug or active
                        agent at steady state
Ng/ml                   Nanogram/milliliter
b.i.d.                  Twice a day
4-AP                    4-aminopyridine (a mono-aminopyridine), dalfampridine,
                        fampridine
Immediate Release       A class of drug delivery in which the release of the drug from the
                        delivery system is rapid, making the drug available for immediate
                        absorption into the blood stream
Sustained Release       (“SR”) A type of formulation within the controlled release drug
                        delivery class which is designed to release the drug slowly over a
                        longer period of time than immediate release formulations. For
                        purposes of this case, “controlled release” means the same thing as
                        “sustained release.”
MS                      Multiple Sclerosis (“MS”) is a chronic disease of the
                        neuroimmunological system
EDSS                    Expanded Disability Status Scale



                                        - iii -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 5 of 60 PageID #: 7011



          Defendants Apotex Corp., Apotex Inc. (together with Apotex Corp., “Apotex”), Mylan

Pharmaceuticals     Inc.     (“Mylan”),   Roxane   Laboratories,   Inc.   (“Roxane”),   and   Teva

Pharmaceuticals USA, Inc. (“Teva”) (collectively, “Defendants”), respectfully submit proposed

Findings of Fact below.

I.        PATENTS-IN-SUIT

          1.    There are five patents-in-suit: United States Patent No. 5,540,938 (“the ’938

patent” or the “Elan patent”) and United States Patent Nos. 8,007,826 (“the ’826 patent”),

8,354,437 (“the ’437 patent”), 8,440,703 (“the ’703 patent”), and 8,663,685 (“the ’685 patent”).

(D.I. 252, Ex. 1, ¶¶ 10-41.) The ’826 patent, ’437 patent, ’703 patent, and ’685 patent are

sometimes referred to collectively as the “Acorda patents.” The patents-in-suit are listed in the

FDA’s “Approved Drug Products with Therapeutic Equivalence Evaluations” (“Orange Book”)

with respect to Ampyra®. (Tr. (Peroutka) 51:2-13.)

          A.    The Elan Patent

          2.    The United States Patent and Trademark Office (“USPTO”) issued the Elan

patent, entitled “Formulations and Their Use in the Treatment of Neurological Diseases,” on July

30, 1996. (JTX-001; D.I. 252, Ex. 1 at ¶ 11.) The inventors listed on the face of the Elan patent

are Joseph G. Masterson and Michael Myers. (Id., Ex. 1 at ¶ 13; Tr. (Peroutka) 64:12-17.)

          3.    Elan Corporation, plc (“Elan”), is named as the assignee on the face of the Elan

patent.    (JTX-001.)      Acorda has an exclusive license to the Elan patent from Elan. ((Tr.

(Goodman) 535:17-22; Tr. (Cohen) 303:17-304:2.) Elan was acquired by Alkermes Pharma

Ireland Limited (“Alkermes”), which is the successor in interest to the Elan patent (Tr.

(Goodman) 535:20-22.)

          4.    The Elan patent lists November 2, 1990, as its foreign application priority date,

but Plaintiffs are asserting an actual priority date to U.S. Application No. 786,400, filed


                                                -1-
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 6 of 60 PageID #: 7012



November 1, 1991. (D.I. 252, Ex. 1 at ¶ 11; JTX-001 at 1:5-7.) Plaintiffs’ expert testified that

the priority date is November 1, 1991. (Tr. (Fassihi) 324:5-7.) The patent expires on July 30,

2018. (D.I. 252, Ex. 1 at ¶ 11.)

       5.      The Elan patent is directed to methods of treating a neurological disease

characterized by a slowing of nerve impulse transmission, such as multiple sclerosis (“MS”) by

administering a sustained release formulation of a mono- or di-aminopyridine, such as 4-

aminopyridine (also known as “dalfampridine” and “4-AP”) or 3,4 diaminopyridiene, where the

sustained release formulation allows controlled absorption resulting in therapeutically effective

blood levels over a 12- to 24-hour period when administered once or twice daily. (JTX-001 at

2:30-41; Tr. (Peroutka) 64:22-55:4.)

       6.      Plaintiffs asserted claims 3 and 8 of the Elan patent against Defendants. (D.I.

252, Ex. 1 at ¶ 16.)

       7.      Claims 3 and 8 depend from claim 1. Claim 1 recites:

       A method for the treatment of a neurological disease where the disease is
       characterised by a slowing of nerve impulse transmission, which comprises
       administering to a patient in need thereof a medicament containing a mono- or di-
       aminopyridine active agent, said medicament being effective to permit sustained
       release of said mono- or di-aminopyridine active agent at a rate allowing
       controlled absorption thereof which achieves therapeutically effective blood
       levels over a 12-24 hour period when administered on a once- or twice-daily
       basis.

(JTX-001 at 22:16-25.)

       8.      Claim 3 also depends from claim 2. Claim 2 recites: “[a] method according to

claim 1, wherein the neurological disease is characterized by demyelination of the central

nervous system.” (Id. at 22:26-28.) Claim 3 recites: “[a] method according to claim 1 or 2,

wherein the neurological disease is multiple sclerosis.” (Id. at 22:29-30.)

       9.      Claim 8 recites: “[a] method according to claim 1, wherein the active agent is 4-



                                               -2-
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 7 of 60 PageID #: 7013



aminopyridine.” (Id. at 22:50-51.)

       10.     The asserted claims of the Elan patent are not limited to a specific sustained

release formulation. Nor are the asserted claims limited to a specific technology (or platform) to

create a sustained release formulation, a dissolution profile, or any specific pharmacokinetic

parameters. (JTX-001; Tr. (Peroutka) 65:5-7.)

       11.     The asserted claims of the Elan patent do not specify a duration of time for the

treatment regimen. (Tr. (Peroutka) 65:10-11.) The specification states, however, that it is an

“object of the present invention to provide preparations suitable for the long-term

administration” of 4-AP. (JTX-001 at 2:22-25.)

       12.     The asserted claims of the Elan patent are silent as to dose and do not require any

dose titration. (Tr. (Peroutka) 65:18-19; Tr. (Lublin) 415:16-416:10.) The dose, though, must

result in “therapeutically effective blood levels over a 12-24 hour period” when given once a day

or twice daily. (Id. at 22:22-25.) In contrast, claims 5, 6, and 7 mention dose titration, where a

dose is increased “at selected intervals of time until a therapeutic dose is achieved.” (Id. at

22:29-51.)

       B.      The Acorda Patents

       13.     The inventors listed on the face of the Acorda patents are Andrew R. Blight and

Ron Cohen. (D.I. 252, Ex. 1 at ¶¶ 21, 27, 33, 39; Tr. (Peroutka) 66:9-10.) Acorda Therapeutics,

Inc. (“Acorda”) is listed as the assignee of the Acorda patents. (D.I. 252, Ex. 1 at ¶¶ 22, 28, 34,

39.)

               1.     The ’826 Patent

       14.     The USPTO issued the ’826 patent entitled “Sustained Release Aminopyridine

Composition” on August 30, 2011. (D.I. 252, Ex. 1 at ¶ 18.) The earliest application date for the

’826 patent was December 11, 2003, but Plaintiffs claim the priority date as April 9, 2004. (Id.


                                               -3-
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 8 of 60 PageID #: 7014



at ¶ 19.) The patent expires on May 26, 2027. (Id.)

       15.     The ’826 patent is directed to a method of improving walking in a human multiple

sclerosis patient by orally administering a 10 mg sustained release formulation of 4-

aminopyridine twice daily (“b.i.d.”) for at least two weeks, wherein the administration results in

specific pharmacokinetic parameters, including a CmaxSS:CminSS ratio of 1.0 to 3.5, a CavSS of 15

ng/ml to 35 ng/ml, and/or Tmax of about 2 hours to about 5.2 hours. (JTX-002 at 29:1-30:33.)

       16.     Plaintiffs assert claims 1, 7, 38, and 39 of the ’826 patent against Defendants.

(D.I. 252, Ex. 1 at ¶ 23.)

       17.     Claim 1 recites:

       A method for maintaining a therapeutically effective concentration of 4-
       aminopyridine in order to improve walking in a human with multiple sclerosis in
       need thereof, said method comprising:

       orally administering to the human a sustained release composition of 10
       milligrams of 4-aminopyridine twice daily for a day; and

       thereafter, maintaining administration of 4-aminopyridine by orally administering
       to said human a sustained release composition of 10 milligrams of 4-
       aminopyridine twice daily for a time period of at least two weeks, whereby an in
       vivo 4-aminopyridine CmaxSS:CminSS of 1.0 to 3.5 and a CavSS of 15 ng/ml to 35
       ng/ml are maintained in the human.

(JTX-002 at 27:17-30.)

       18.     Claim 7 depends from claim 6. Claim 6 recites:

       A dosing regimen method for providing a 4-aminopyridine at a therapeutically
       effective concentration in order to improve walking in a human with multiple
       sclerosis in need thereof, said method comprising:

       initiating administration of 4-aminopyridine by orally administering to said
       human a sustained release composition of 10 milligrams of 4-aminopyridine twice
       daily for a day without a prior period of 4-aminopyridine titration, and then,
       maintaining administration of 4-aminopyridine by orally administering to said
       human a sustained release composition of 10 milligrams of 4-aminopyridine twice
       daily;

       without a subsequent period of 4-aminopyridine titration, whereby an in vivo


                                              -4-
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 9 of 60 PageID #: 7015



       CmaxSS:CminSS ratio of 1.0 to 3.5 and a CavSS of 15 ng/ml to 35 ng/ml are
       maintained in the human.

(Id. at 27:41-57.)

       19.     Claim 7 recites: “[t]he method of claim 6, whereby an increase in walking speed

is obtained in said human.” (Id. at 27:58-59.)

       20.     Claim 38 depends from claim 37. Claim 37 recites:

       A method of increasing walking speed in a human multiple sclerosis patient in
       need thereof comprising orally administering to said patient a sustained release
       composition of 10 milligrams of 4-aminopyridine twice daily for a time period of
       greater than two weeks, wherein said sustained release composition provides a
       mean Tmax in a range of about 2 to about 5.2 hours after administration of the
       sustained release composition to the patient.

(Id. at 30:14-21.)

       21.     Claim 38 recites: “[t]he method of claim 37 wherein the sustained release

composition elicits a CmaxSS:CminSS ratio of 1.0 to 3.5 when administered b.i.d. or administered at

12-hour intervals to a human.” (Id. at 30:22-25.)

       22.     Claim 39 also depends from claim 7 and recites: “[t]he method of claim 37

wherein said time period is twelve weeks.” (Id. at 30:26-27.)

       23.     The parties have stipulated that if the two week limitations are obvious, then the

12 week limitations are also obvious. (D.I. 254; Tr. (Peroutka) 68:16-19.)

       24.     In the prosecution history for the ’826 patent, the patentees discuss a 1997 paper

titled “Quantitative Assessment of Sustained Release 4-AP for the Symptomatic Treatment of

Multiple Sclerosis,” by Schwid et al. (“Schwid”). (JTX-104; JTX-007; Tr. (Peroutka) 95:3-15.)

The patentees argued in a statement to the USPTO that Schwid disclosed stable dosing of 4-AP.

(Tr. (Peroutka) 95:3-15; JTX-007 at AMPFH002449.)

               2.     The ’685 Patent

       25.     The USPTO issued the ’685 patent, entitled “Sustained Release Aminopyridine


                                                 -5-
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 10 of 60 PageID #: 7016



Composition” on March 4, 2014. (D.I. 252, Ex. 1 at ¶ 36.) The ’685 patent is a continuation of

the ’826 patent, the earliest application date of which was December 11, 2003, but Plaintiffs

claim the priority date as April 9, 2004. (JTX-005 at 1:6-10; D.I. 252, Ex. 1 at ¶ 37.) The ’685

patent expires on January 18, 2025. (Id.)

       26.     Plaintiffs asserted claims 3 and 5 of the ’685 patent against Defendants. (D.I.

252, Ex. 1 ¶ 41.)

       27.     Claim 3 depends from claim 2, which depends from claim 1. Claim 1 recites:

       A method of improving walking in a human multiple sclerosis patient in need
       thereof comprising orally administering to said patient a sustained release
       composition of 10 milligrams of 4-aminopyridine twice daily for a time period of
       at least two weeks, wherein the sustained release composition further comprises
       one or more pharmaceutically acceptable excipients.

(JTX-005 at 27:22-28.)

       28.     Claim 2 recites: “[t]he method of claim 1 wherein said sustained release

composition provides a mean Tmax in a range of about 2 to about 6 hours after administration of

the sustained release composition to the patient.” (Id. at 28:1-4.)

       29.     Claim 3 recites: “[t]he method of claim 2 wherein the sustained release

composition is capable of providing, upon administration to the patient, a release profile of the 4-

aminopyridine extending over at least 6 hours.” (Id. at 28:5-8.)

       30.     Claim 5 depends from claim 1 and recites: “[t]he method of claim 1 wherein the

sustained release composition provides an average plasma concentration at steady state in

humans in the range of about 15 ng/ml to about 35 ng/ml.” (Id. at 13-16.)

               3.      The ’437 Patent

       31.     The USPTO issued the ’437 patent, entitled “Method of Using Sustained Release

Aminopyridine Compositions,” on January 15, 2013. (D.I. 252, Ex. 1 at ¶ 24.) The priority date

of the ’437 patent is April 9, 2004. (Id., Ex. 1 at ¶ 25; JTX-003 at 1:6-7.) The patent expires on


                                                -6-
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 11 of 60 PageID #: 7017



December 22, 2016. (D.I. 252, Ex. 1 at ¶ 25.)

       32.      The ’437 patent is directed to a method of increasing walking speed or improving

walking in a human multiple sclerosis patient by orally administering a 10 mg sustained release

formulation of 4-AP twice daily (b.i.d.) for at least two weeks, wherein the 10 mg sustained

release formulation of 4-AP is the only dose and where the administration results in specific

pharmacokinetic parameters, including a CavSS of about 15 ng/ml to about 35 ng/ml. (JTX-003 at

27:55-30:26.)

       33.      Plaintiffs asserted claims 1, 2, 5, 22, 32, 36, and 37 of the ’437 patent against

Defendants. (D.I. 252, Ex. 1 at ¶ 29.)

       34.      Claim 1 recites:

       A method of increasing walking speed in a human multiple sclerosis patient in
       need thereof comprising orally administering to said patient a sustained release
       composition of 10 milligrams of 4-aminopyridine twice daily for a time period of
       at least two weeks, wherein said 10 milligrams of 4-aminopyridine twice daily are
       the only doses of 4-aminopyridine administered to said patient during said time
       period.

(JTX-003 at 27:55-61.)

       35.      Claim 2 recites:

       A method of improving walking in a human multiple sclerosis patient in need
       thereof comprising orally administering to said patient a sustained release
       composition of 10 milligrams of 4-aminopyridine twice daily for a time period of
       at least two weeks, wherein said 10 milligrams of 4-aminopyridine twice daily are
       the only doses of 4-aminopyridine administered to said patient during said time
       period.

(Id. at 27:62-68.)

       36.      Claim 5 depends from claim 1 and recites: “[t]he method of claim 1 wherein said

time period comprises twelve weeks.” (Id. at 28:16-17.)

       37.      Claim 22 depends from claim 18, which depends from claim 1. Claim 18 recites:

“[t]he method of claim 1 wherein said sustained release composition is a tablet.” (Id. at 28:48-


                                                -7-
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 12 of 60 PageID #: 7018



49.)

       38.     Claim 22 recites: “[t]he method of claim 18 wherein said tablet exhibits a release

profile to obtain a CavSS of about 15 ng/ml to about 35 ng/ml.” (Id. at 28:55-57.)

       39.     Claim 32 recites:

       A method of increasing walking speed in a human multiple sclerosis patient in
       need thereof comprising orally administering to said patient a sustained release
       tablet of 10 milligrams of 4-aminopyridine at about every 12 hours for a time
       period of at least two weeks, wherein said 10 milligrams of 4-aminopyridine at
       about every 12 hours are the only doses of 4-aminopyridine administered to said
       patient during said time period.

(Id. at 29:10-17.)

       40.     Claim 36 depends from claim 32 and recites: “[t]he method of claim 32 wherein

said time period comprises twelve weeks.” (Id. at 30:11-12.)

       41.     Claim 37 depends from claim 33. Claim 33 recites:

       A method of improving walking in a human multiple sclerosis patient in need
       thereof comprising orally administering to said patient a sustained release tablet
       of 10 milligrams of 4-aminopyridine at about every 12 hours for a time period of
       at least two weeks, wherein said 10 milligrams of 4-aminopyridine at about every
       12 hours are the only doses of 4-aminopyridine administered to said patient
       during said time period.

(Id. at 29:18-24.)

       42.     Claim 37 recites: “[t]he method of claim 33 wherein said time period comprises

twelve weeks.” (Id. at 30:13-14.)

               4.      The ’703 Patent

       43.     The USPTO issued the ’703 patent, entitled “Methods of Using Sustained Release

Aminopyridine Compositions,” on May 14, 2013. (D.I. 252, Ex. 1 at ¶ 30.) The ’703 patent is a

continuation of the ’437 patent and has a priority date of April 9, 2004. (JTX-004 at 1:6-9.) The

patent expires on April 8, 2025. (D.I. 252, Ex. 1 at ¶ 31.)

       44.     Plaintiffs asserted claims 36, 38, and 45 of the ’703 patent against Defendants.


                                               -8-
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 13 of 60 PageID #: 7019



(D.I. 252, Ex. 1 at ¶ 35.)

       45.      Claim 36 depends from claim 2. Claim 2 recites:

       A method of improving lower extremity function in a human multiple sclerosis
       patient in need thereof comprising orally administering to said patient a sustained
       release composition of 10 milligrams of 4-aminopyridine twice daily for a time
       period of at least two weeks.

(JTX-004 at 29:63-67.)

       46.      Claim 36 recites: “[t]he method of claim 2, wherein the lower extremity function

is walking, and wherein said sustained release composition provides a release profile to obtain a

CavSS of about 15 ng/ml to about 35 ng/ml.” (Id. at 31:28-31.)

       47.      Claim 38 depends from claim 2 and recites: “[t]he method of claim 2, wherein the

lower extremity function is walking, and wherein said sustained release composition provides a

mean Tmax in a range of about 2 to about 6 hours after administration of the sustained release

composition to the patient.” (Id. at 31:36-40.)

       48.      Claim 45 depends from claim 2 and recites: “[t]he method of claim 2, wherein the

lower extremity function is walking, and wherein said time period is more than two weeks.” (Id.

at 32:20-22.)

II.    BACKGROUND

       A.       Multiple Sclerosis

       49.      MS is a chronic disease of the neuro-immunological system first identified in the

1800s. (Tr. (Peroutka) 52:10-53:15.) Currently, there is neither a known cause of, nor a known

cure for, MS. (Tr. (Peroutka) 53:21-54:1.)

       50.      MS causes a loss of myelin, the fatty insulating material around many nerves in

the central nervous system.      (Id.; see also Tr. (Lublin) 392:12-392:25.)      This is called

demyelinization and can cause a disruption in the nerve flow anywhere in the nervous system.



                                                  -9-
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 14 of 60 PageID #: 7020



(Tr. (Peroutka) 52:13-53:10.) Symptoms of MS can include impairment of almost any bodily

function controlled by the nervous system. (Tr. (Peroutka) 54:9-55:5.)

       51.     Weakness in the legs and/or alterations in walking are one of the most common

symptoms of MS. (Tr. (Peroutka) 55:9-56:4; Tr. (Goodman) 432:21-23.) Roughly 50 to 75

percent of MS patients will experience difficulty walking. (Id.) It was well-known and accepted

in 1990—prior to the priority dates of any of the patents-in-suit—that difficulty with walking

was a symptom of MS. (Tr. (Peroutka) 55:9-56:4.)

       52.     Treatments for MS currently fall into two categories: (1) the use of disease-

modifying agents which alter the course of the disease and lessen the chance that the patient gets

worse; and (2) therapies that attempt to alleviate the symptoms of MS to improve the patient’s

quality of life. (Tr. (Lublin) 393:11-20.)

       B.      History of 4-AP before Elan’s exclusive license to Acorda

       53.     4-AP, the active ingredient in Ampyra®, also known as 4-aminopyridine,

fampridine, or dalfampridine, was first identified in a German paper in 1902. (Tr. (Peroutka)

73:1-5.) 4-AP improves nerve conduction by blocking potassium channels, and is sometimes

referred to as a “potassium channel blocker.” (Tr. (Peroutka) 122:5-10.)

       54.     4-AP was first used in humans in studies conducted in the 1970s, when a Swedish

group tested 4-AP in connection with neurological diseases myasthenic syndrome and

myasthenia gravis, which are characterized by an impasse in nerve transmission between the

muscles, resulting in weakness. (Tr. (Peroutka) 73:9-18.) These studies taught a person of

ordinary skill in the art (“POSA”) about the safety profile of 4-AP and that muscle strength could

be increased with 4-AP. (Tr. (Peroutka) 73:19-24.)

       55.     The first study of 4-AP in animal models for MS was a British study in 1980 that

looked at a rat model of demyelination. (Tr. (Peroutka) 73:25-74:6.) That study indicated 4-AP


                                              - 10 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 15 of 60 PageID #: 7021



would reverse and improve the deficit caused by demyelination in animals. (Id.)

       56.     In 1981, Drs. Murray and Newsom-Davis conducted a study that established the

safety of long-term use of 4-AP in humans. (Tr. (Peroutka) 74:7-75:12; JTX-089.) The paper

discussing this study, Murray et al., “Treatment with Oral 4-Aminopyridine in Disorders of

Neuromuscular Transmission,” Neurology, 31:265-71 (1981) (“Murray”) (JTX-089) is a printed

publication published in the United States and available to persons of ordinary skill in the art in

1981. (D.I. 252, Ex. 1 at ¶ 56.) Murray describes a dosing scheme in which the starting dose of

4-AP was 10 mg twice daily, which was gradually increased, depending on the response, to a

maximum of 200 mg daily in one patient. (Tr. (Goodman) 439:24-441:3.) The results of the

Murray study show that 4-AP given orally for 10 months can improve neuromuscular

transmission. (Tr. (Peroutka) 74:9-23; JTX-089.) While three of the patients in the Murray

study suffered seizures, Dr. Murray observed that the seizures only occurred at daily doses of 80

mg or more. (Tr. (Peroutka) 74:24-75:4.)

       57.     4-AP was first tested in MS patients in 1983 in a study in England.             (Tr.

(Peroutka) 75:12-75:15) Stefoski and Davis of the Rush Medical School also began to develop

immediate release formulations of 4-AP to treat MS in the 1980s. (JTX-112; JTX-043.) By

1990, Elan entered into a formal agreement with Rush that allowed Elan to use Rush’s research

on 4-AP to develop pharmaceutical formulations of 4-AP. (Tr. (Fogarty) 158:24-159:15.)

       58.     After the Elan patent issued on July 30, 1996, Elan granted a license to the Elan

patent to Acorda in 1997, allowing Acorda to use the sustained release 4-AP formulations Elan

developed for clinical trials in spinal cord injury patients, i.e., for treatment of a chronic

condition. (Tr. (Cohen) 280:16-281:3; JTX-020.) In 1998, Elan expanded the license to Acorda,

granting it exclusive rights over 4-AP, including for use in treatment of MS—another chronic




                                              - 11 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 16 of 60 PageID #: 7022



condition for which sustained release would be necessary. (Tr. (Cohen) 281:11-19; 303:17-

304:2; Tr. (Peroutka) 65:12-17, 77:20-78:8; JTX-021.)

       C.      Ampyra®

       59.     Acorda holds an FDA-approved New Drug Application (“NDA”), No. 022250,

for the use of 10 mg dalfampridine extended release tablets to improve walking in patients with

MS, which Acorda sells under the registered trademark Ampyra®. (D.I. 252, Ex. 1 ¶ 66.)

Ampyra® was approved in January 2010. (Tr. (Cohen) 300:18-19.)

       60.     The package insert or product label of Ampyra® shows that it is approved to

improve walking in patients with MS. (Tr. (Peroutka) 51:22-25; JTX-076.) The label provides a

recommended maximum dose of 10 mg twice daily approximately 12 hours apart with or without

food but does not specify the duration of treatment. (Id. at 52:1-7.)

III.   WITNESSES

       A.      Plaintiffs’ Fact Witnesses

       61.     Plaintiffs called Dr. Ron Cohen as their only live fact witness at trial. Dr. Cohen,

a medical doctor, is a named inventor on the Acorda patents. (Tr. (Cohen) 274:4-6.) He is the

President and CEO of Acorda, which he founded in 1993. (Id. at 273:25-274:3, 277:8-14.)

       B.      Plaintiffs’ Expert Witnesses

       62.     Plaintiffs called four expert witnesses at trial on their own behalf: Dr. Reza

Fassihi, Dr. Andrew Goodman, Dr. Fred Lublin, and Dr. Gregory Bell.

       63.     Dr. Reza Fassihi is a Professor of Pharmacy at Temple University, School of

Pharmacy. (Tr. (Fassihi) 315:7-9.) Plaintiffs offered and this Court accepted Dr. Fassihi as an

expert in pharmaceutics and, in particular, sustained release formulations. (Id. at 320:24-321:5.)

       64.     Dr. Andrew Goodman is a Professor of Neurology at the University of Rochester.

(Tr. (Goodman) 424:10-20.) He directs the Immunology and Multiple Sclerosis Division within


                                               - 12 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 17 of 60 PageID #: 7023



the Department of Neurology. (Id. at 424:21-25.) Plaintiffs offered and this Court accepted Dr.

Goodman as an expert in neurology, particularly MS, the treatment of MS, and clinical trials in

MS. (Id. at 428:10-16.) Dr. Goodman has advised and consulted with Elan for years, starting in

1994. (Id. at 535:23-536:6.) Dr. Goodman was also a paid consultant for Acorda since the late

1990s or early 2000 and worked with Acorda in connection with its drug development of

Ampyra®. (Id. at 535:23-536:22.) During the course of the studies supporting the development

of Ampyra®, Dr. Goodman worked side-by-side with the inventors of the Acorda patents. (Id. at

537:9-12.) Dr. Goodman also receives compensation from Acorda for work performed on its

MS advisory committee. (Id. at 537:17-24.) Dr. Goodman also noted in passing that he had

been asked to be an investigator on another study, but had to decline due to a potential conflict

with his role at Acorda. (Tr. (Goodman) 513:4-16.)

       65.     Dr. Fred Lublin is a medical doctor specializing in neurology. (Tr. (Lublin)

386:1-5.) He is also a Professor of Neurology at the Icahn School of Medicine at Mount Sinai.

(Id.) Plaintiffs offered and this Court accepted Dr. Lublin as an expert in neurology with specific

expertise in the care and research of MS. (Id. at 392:5-10.)

       66.     Dr. Gregory Bell is a Group Vice President at Charles River Associates, a global

economics and management consulting firm. (Tr. (Bell) 573:3-9.) He has worked at Charles

River Associates since 1992. (Id. at 573:10-12.) Plaintiffs offered and this Court accepted Dr.

Bell as an expert in the economics of the pharmaceutical industry. (Id. at 576:5-10.)

       C.      Defendants’ Expert Witnesses

       67.     Defendants called three expert witnesses live at the trial: Dr. Stephen Peroutka,

Dr. Arthur Kibbe, and Dr. DeForest McDuff.

       68.     Dr. Stephen Peroutka is an M.D./Ph.D. specializing in neurology and

pharmacology. (Tr. (Peroutka) 43:23-24; 44:25-45:7). After actively treating patients, including


                                              - 13 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 18 of 60 PageID #: 7024



MS patients, and serving as an Assistant Professor of Neurology at Stanford University, Dr.

Peroutka worked in the pharmaceutical industry in the fields of neuroscience, including with

respect to MS research. (Id. at 46:6-47:10.) Dr. Peroutka is currently the Vice-President of

Neuroscience and Global Therapeutic Head of inVentiv Health Clinical, a company that focuses

on neurosciences, and he routinely reviews MS protocols. (Id.). Defendants offered and this

Court accepted Dr. Peroutka as an expert in neurology, pharmacology, and drug development.

(Id. at 49:7-12.)

        69.      Dr. Arthur Kibbe, Ph.D., is an Emeritus Professor of Pharmacy at Wilkes

University. (Tr. (Kibbe) 176:24-177:2; 177:15-18.) Dr. Kibbe has almost 50 years of experience

in the development and formulation of pharmaceutical dosage forms, specifically including the

development of dosage forms to be used for the first time in patients, and the development and

review of pharmacokinetic studies. (Id. at 175:4-176:5; 178:14-21.) He has routinely trained

students on how to make and test formulations, including sustained release formulations, first at

the University of Mississippi, and then later at Wilkes University, starting in 1994. (Id. at

174:14-175:1; 178:14-21.) Dr. Kibbe has also served as an advisor to Congress and the FDA in

the development of drug approval standards. (Id. at 176:9-18.) Since 1989, Dr. Kibbe has

served on the Steering Committee, as Editor-in-Chief, and is author of 20-25 monographs for the

Handbook of Pharmaceutical Excipients, an internationally recognized reference text disclosing

information on excipients, including those used to achieve sustained release. (Id. at 176:6-177:2;

178:8-13.)    Defendants offered and this Court accepted Dr. Kibbe as an expert in the

development and evaluation of pharmaceutical dosage form formulations, including both

immediate and sustained release formulations, and also as an expert in pharmacokinetics. (Id. at

179:25-180:7.)




                                              - 14 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 19 of 60 PageID #: 7025



        70.      Dr. DeForest McDuff is a Vice President at Intensity Corporation, a consulting

firm with expertise in economics, finance, computer science, and data science. (Tr. (McDuff)

626:19-627:3.)     Dr. McDuff is an economic consultant with a Ph.D. in economics from

Princeton. (Id. at 627:1-3.) He has substantial experience in the pharmaceuticals industry,

including more than 20 cases considering commercial success. (Id. at 627:7-9.) Defendants

offered and this Court accepted Dr. McDuff as an expert on economics and commercial success

as it relates to patentability. (Id. at 627:13-17.)

        D.       Witnesses Appearing by Deposition

        71.      Defendants called three fact witnesses by deposition. Michael Myers is a named

inventor of the Elan patent and was designated as Alkermes’s Rule 30(b)(6) witness on

numerous topics. (Tr. 148:4-7.) Mairead Fogarty was a Rule 30(b)(6) witness designated on

numerous topics by Alkermes. (Tr. 158:4-9.) Andrew Blight is a named inventor of the Acorda

patents and was designated as Acorda’s Rule 30(b)(6) witness on numerous topics. (Tr. 161:20-

25.)

IV.     CLAIM CONSTRUCTION

        72.      The parties stipulated to constructions for certain claim terms contained in the

patents-in-suit. (D.I. 193; D.I. 187; D.I. 252, Ex. 1 at ¶ 42). On March 16, 2016, the Court

issued a claim construction order and opinion adopting constructions for the remaining disputed

claim terms. (D.I. 195; D.I. 196; D.I. 252, Ex. 1 at ¶ 43.)

V.      THE PATENTS-IN-SUIT ARE OBVIOUS OVER THE PRIOR ART

        A.       Person of Ordinary Skill in the Art

        73.      The parties have offered different definitions of a person of ordinary skill in the

art (“POSA”), but these differences are not material. (D.I. 252, Ex. 2 at ¶¶ 20, Ex. 3 at ¶¶ 22-24.)

The experts have agreed that their opinions would not change if either parties’ definition of a


                                                 - 15 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 20 of 60 PageID #: 7026



POSA was adopted. (Tr. (Peroutka) 72:8-17; Tr. (Kibbe) 183:16-184:5; Tr. (Fassihi) 322:14-24;

Tr. (Lublin) 406:9-18; Tr. (Goodman) 429:19-430:4.)

       B.       The Asserted Claims of the Elan Patent are Prima Facie Obvious Because
                They Claim a Known Drug For a Known Use With a Known Formulation
                Type

             74. The asserted claims of the Elan patent—claims 3 and 8—relate to (1) a method of

treatment of a neurological disease; (2) using a mono- or di-aminopyridine active agent; and (3)

with a sustained release allowing controlled absorption which achieves therapeutically effective

blood levels over a 12-24 hour period when administered once or twice a day. (JTX-001.)

Claim 3 specifically requires MS as the disease to be treated, and claim 8 requires 4-AP as the

active ingredient. (Id.)

       75.      As explained in detail below, the prior art demonstrates that 4-AP was a drug

well-known to a POSA. 4-AP was further known to be useful in the treatment of patients with

MS, and more specifically for treatment of the symptoms of MS. And, since MS is a chronic

condition with no known cure, a POSA would have known to apply well-known formulation

techniques to create a sustained-release dosage form that would be necessary to facilitate such a

course of treatment.

                1.     4-AP was known in the art

       76.      4-AP is not a new compound and was first identified in a German paper in 1902.

(Tr. (Peroutka) 73:1-5.) 4-AP was first used in humans in studies conducted in the 1970s, and

was then used in animal studies in the UK in 1980. (Tr. (Peroutka) 73:19-74:6.) In 1981 studies

by Drs. Murray and Newsom-Davis disclosed the use of 4-AP in pharmaceutical preparations to

evaluate the safety and efficacy of the drug. (Tr. (Peroutka) 74:7-11; JTX-089.) These studies

continued in both the UK and the US throughout the 1980s. (Tr. (Peroutka) 75:12-15; JTX-112;

JTX-043.) Accordingly, there is no dispute that 4-AP was a drug known to a POSA before the


                                              - 16 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 21 of 60 PageID #: 7027



Elan patent.

               2.      4-AP was known in the art to be useful in treating multiple sclerosis

       77.     The asserted claims of the Elan patent require that the claimed sustained release

formulation of 4-AP is capable of resulting in “therapeutically effective blood levels over a 12 to

24 hour period when administered on a once or twice daily basis.” (JTX-001.) This Court

construed the term “therapeutically effective blood levels” as “blood levels sufficient to produce

a therapeutic effect.” (D.I. 195; D.I. 196; D.I. 252 at ¶ 43.) There is no requirement in the Elan

patent that the administration of the drug ameliorate a symptom. (Tr. (Lublin) 408:10-12.) In

order for 4-AP to be therapeutically effective, it ameliorates a neurological disease with no

requirement that 4-AP benefit the afflicted patient in any particular way. (Tr. (Lublin) 408:13-

409:2.).

                       a.      Stefoski I

       78.     In 1987, Stefoski and Davis, researchers at the Rush Medical School, conducted a

study and published a paper titled “4-Aminopyridine Improves Clinical Signs in Multiple

Sclerosis, Ann. Neurol. Vo. 21, 71-77 (1987) (“Stefoski I”). (Tr. (Goodman) 443:4-12; Tr.

(Peroutka) 75:16-23; JTX-112.) Stefoski I is a printed publication published in the United States

and available to persons of ordinary skill in the art in 1987. (D.I. 252, Ex. 1 at ¶ 62.)

       79.     Stefoski I studied motor function, defined by the researchers as power,

coordination, and gait (i.e., walking), as well as ocular motor function, by monitoring 12 MS

patients and five normal men before, during, and after IV injection of seven to 35 mg of 4-AP.

(JTX-112 at 1; Tr. (Peroutka ) 76:2-77:14.) As a result of this study, Stefoski I concluded that 10

of the 12 patients showed mild to marked improvement, vision improved in seven patients,

oculomotor function improved in five, and motor function (defined as power, coordination, and

gait) improved in five. (JTX 112 at 1; Tr. (Peroutka) 76:3-77:14.)             These improvements


                                                - 17 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 22 of 60 PageID #: 7028



gradually developed within minutes with doses as low as two mg. (Tr. (Peroutka) 76:3-77:14.)

        80.    In addition, Stefoski I reported that five of the patients receiving 4-AP had a

differential effect in visual evoked potential (“VEP”) versus the two individuals on placebo.

(JTX-112.) VEP, also known as visual evoked response (“VER”), is a test to detect subclinical

lesions in MS patients. (Tr. (Lublin) 394:21-396:9.) VEP is designed to pick up changes in the

optic nerve that were not appreciated clinically to aid in the diagnosis of MS.                (Id.)

Improvements in VEP latency suggest a central effect because there is no placebo effect on the

test. (Id. at 402:7-8.) Therefore, VEP can reveal a nerve conduction response and a therapeutic

effect. (Id. at 417:24-418:14.) VEP is a proven method of showing improving nerve conduction.

(Tr. (Lublin) 418:4-6.) Thus, the differential effect observed provided strong support of the true

pharmacologic effect of 4-AP. (Tr. (Lublin) 404:18-405:14.) Stefoski I concluded that their data

suggested a clinical usefulness for 4-AP in treating MS patients. (Tr. (Peroutka) 77:15-19.)

                      b.      Davis

        81.    In February 1990, the same group of investigators at Rush Medical School

published a paper on a follow-up study in the Annals of Neurology titled “Orally Administered

4-Aminopyridine Improves Clinical Signs in Multiple Sclerosis,” Ann. Neurol., 27(1):186-192

(1990) (“Davis”) (Tr. (Peroutka) 77:15-82:16; JTX-043.)          Davis is a printed publication

published in the United States and available to persons of ordinary skill in the art in 1990. (D.I.

252, Ex. 1 at ¶ 47.) Davis looked at 15 MS patients who were given 4-AP starting at 10 mg

going up to 25 mg or placebo. (Id.) Davis found that all of the MS patients given 4-AP had mild

to marked improvements. (Id.) Motor function (defined as power, coordination, and gait)

improved in nine of 13 involved subjects. (Id.) Davis found that 10 mg doses were efficacious.

(Id.)

        82.    Davis concluded that orally administered 4-AP produces clinically important


                                              - 18 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 23 of 60 PageID #: 7029



improvements in multiple chronic deficits in MS. (Tr. (Peroutka) 79:6-80:10; JTX-043.) Davis

also reported that in spite of patients becoming unblinded, several had reversible improvements

in VEP testing that could not be explained by placebo effect. (Tr. (Lublin) 402:11-404:7; JTX-

043). Therefore, by showing that there was some improvement in VEP, Davis showed that 4-AP

can be therapeutically effective. (Tr. (Lublin) 418:7-14.) Davis further found that no serious

adverse events, e.g., seizures, occurred in doses at 10–25 mg. (Tr. (Peroutka) 79:14-80:10.)

       83.     Noting prior incidences of seizure in MS patients, the authors of the Davis study

noted that their results suggested a “safe and effective therapeutic window for orally

administered 4-AP for visual and motor defects in selected MS patients.” (Tr. (Kibbe) 206:14-

207:12.)

                       c.     Knowledge of a POSA

       84.     An article published in 1994 in the Annals of Neurology by Bever discussed the

Davis and Stefoski studies, commenting that they were “limited.”                   (JTX-027 at

AMPFH0021791.) However, there is no such thing as a perfect study. (Tr. (Peroutka) at

142:24-143:10.) All studies are subject to limitations, including investigator bias, number of

subjects, statistical analyses, and statistical issues. (Id.) It has become common for authors of

journal articles to comment on the limitations they feel exist in studies they discuss. (Id.)

POSAs would consider these limitations in view of the reported study results and the teachings

of the prior art. (Tr. (Peroutka) 143:11-22.)

       85.     The specification of the Elan Patent admits that the Stefoski I and Davis

references describe improvement in conduction of nerve impulses caused by 4-AP and show that

4-AP was found to improve specific neurological deficits of VEP in MS patients. (JTX-001 at

1:52-66; Tr. (Lublin) 409:15-24, 416:19-417:9; Tr. (Goodman) 462:8-462:12.)




                                                - 19 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 24 of 60 PageID #: 7030



               3.       Sustained release was known in the art

       86.     Sustained release formulations release the drug continuously over a long period of

time, meaning absorption of the drug is slower and it reaches peak later before dissipating slower

than an immediate release formulation. (Tr. (Kibbe) 186:4-11.). This gives the drug a longer

duration of effect compared to immediate release formulations. (Id. at 186:20-25.)

       87.     The earliest work in the area of sustained release dosage forms can be traced to a

1938 patent, which involved using coated pellets for prolonged release of a drug. (Tr. (Fassihi)

367:1-14.) This work was a forerunner to the development of the coated particle approach to

sustained release delivery that was introduced in the early 1950s. (Id.) In the 40 years following

the 1938 patent, there were a number of strategies developed from research in sustained release.

(Id. at 367:18-25.)

       88.     A POSA would have known about sustained release technology and sustained

release formulations from reference texts such as Remington’s and Robinson & Lee, which have

had chapters devoted to sustained release technology since at least 1990. (JTX-082; JTX-79; Tr.

(Kibbe) 188:6-189:1.)

       89.     The 1985 edition of Remington’s – a “Bible of pharmaceuticals sciences” –

highlights that, prior to 1990, numerous sustained release drugs were on the market. (JTX-082 at

AMP-DEF-0000150; Tr. (Peroutka) 81:11-19.) In addition, Remington’s 1990 edition includes

Tables II-VI, which disclose lists of 39 FDA-approved commercially available sustained release

products for each of five known platforms: reservoir diffusion, matrix diffusion, matrix

dissolution, encapsulated dissolution, and ion exchange. (JTX-081 at AMP-DEF-0000177-180;

Tr. (Kibbe) 208:24-209:2; Tr. (Fassihi) 368:17-21.)          These FDA-approved drugs were

manufactured by 14 different companies (Tr. (Fassihi) 369:11-372:10.) Many of the listed FDA-

approved drugs in Remington’s have been available since the 1950s or 1960s. (Tr. (Kibbe)


                                              - 20 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 25 of 60 PageID #: 7031



209:12-17; Tr. (Fassihi) 366:3-25.) Therefore, the technology to make many different sustained

release products was available by 1991. (Tr. (Fassihi) 366:20-25.)

       90.      Remington’s also explains how to make a sustained release drug using each of the

disclosed platforms and the excipients appropriate for each dosage form. (Tr. (Kibbe) 209:7-11.)

For example, in a matrix tablet, a POSA would blend the active ingredient with a matrix

polymer, the most common being hydroxypropylmethylcellulose. (Tr. (Kibbe) 209:24-210:2.)

A POSA would know to perform compatibility tests to determine if the drug has any chemical

reactions with the excipients. (Tr. (Kibbe) 210:12-211:9.) A POSA would then blend the active

ingredient at the desired dose with various ratios of excipients to make several different potential

formulations. (Id.) This process takes about a day to a day-and-a-half. (Id.) Once a uniformed

blend is obtained, the formulation can be tableted, which takes about 15-20 minutes. (Tr.

(Kibbe) 210:2-3; 210:12-211:9.) Once the tablet is obtained, a POSA would perform dissolution

testing to confirm that, when administered, the drug will have the desired release profile. (Id.)

Most formulators can complete this process in about four months. (Tr. (Kibbe) 212:2-3.)

       91.      Additionally, a POSA would have known about sustained release formulations

that were already known and on the market before 1990. (Tr. (Peroutka) 81:11-13.) Numerous

pharmaceutical companies were making sustained release products before 1990. (Tr. (Fassihi)

366:3-373:5.)

       92.      Indeed, Dr. Myers, one of the inventors listed on the Elan patent, explained that

he learned about controlled release prior to the date of the invention from courses and

conferences sponsored by the Controlled Release Society, and by reading available materials on

new polymers and new equipment that were being used to create sustained release formulations,

visiting equipment manufacturers, and reviewing patents on sustained release dosage forms. (Tr.




                                               - 21 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 26 of 60 PageID #: 7032



(Myers) 151:19-153:10.)

               4.      A POSA would know sustained release formulations have significant
                       advantages over immediate release formulations for treating chronic
                       conditions

       93.     A POSA would have known that sustained release medications are especially

useful for treating chronic diseases. (Tr. (Kibbe) at 184:20-23.)

       94.     There is no disagreement that advantages of sustained release formulations were

known to a POSA. (Tr. (Fassihi) 325:19-24.) For example, Remington’s 1985 edition includes a

table setting forth various known advantages of sustained release. (JTX-082; Tr. (Kibbe) 188:9-

21.)

       95.     One such recognized advantage of sustained release products is improved patient

compliance—i.e., that a patient is much more likely to be able to comply with a treatment that

requires taking a drug only once or twice a day. (JTX-082; Tr. (Kibbe) 189:16-190:12.)

       96.     A POSA would know that because the formulation releases the drug more slowly

and over a longer period of time, less total drug is employed. (Tr. (Kibbe) 190:20-24.) As a

result, peak concentrations may not reach the toxic or side effect level, which reduces the

incidence of side effects.    (Id. at 191:2-18.)   Maintaining levels of the drug between the

minimum effective concentration and the toxic concentration further results in improved

efficiency in treatment. (Id. at 191:19-22.)

       97.     Sustained release was also known by a POSA to improve bioavailability (i.e., the

amount of a drug that is absorbed and enters the circulation) by spreading the release of the drug

over a longer section of intestine, allowing it more opportunity to be absorbed. (Id. at 192:1-7.)

       98.     A POSA would recognize that standard testing is done in any dosage form

development, including compatibility, dissolution, and stability testing. (Id. at 194:9-13.) With

sustained release formulations, a POSA would also consider, for example, dose dumping, patient


                                               - 22 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 27 of 60 PageID #: 7033



misuse, establishing an in vitro/in vivo correlation when formulating a sustained release

formulation, and first pass effect, which occurs when a drug that is taken orally is highly

metabolized by the liver before going into systematic circulation, reducing the bioavailability of

the drug. (Tr. (Kibbe) at 194:5-198:3.) However, these are common considerations that a

formulator addresses, and thus a part of the routine optimization process used to formulate a

sustained release drug product. (Id. at 198:4-11.) Such routine experimentation would not

prevent a POSA from considering making a sustained release formulation. (Id.) Nor would a

POSA be dissuaded simply because a sustained release formulation may be more difficult to

prepare relative to an immediate release formulation or because an immediate release product

had not already been FDA-approved. (Tr. (Kibbe) 232:11-233:2.) To those skilled in the art, the

sustained release formulation process is still “straightforward.” (Tr. (Kibbe) 264:12-20.) As

long as the drug has the characteristics that make it a potential candidate, a POSA would be

motivated to try to make a sustained release formulation. (Id. at 198:4-11.)

               5.     A POSA would know how to determine if a drug was suitable for a
                      sustained release formulation

       99.     A POSA would understand in light of Remington’s 1985 edition that if a drug has

four distinct characteristics, it is a good candidate for a sustained release formulation. (JTX-082

at AMP-DEF-0000153-156; Tr. (Kibbe) 198:12-200:14.)

       100.    First, a drug with a relatively short half-life must be dosed more frequently than a

drug with a long half-life, because the drug is eliminated from the patient’s system more quickly.

(JTX-082 at 4-5 (AMP-DEF-0000150-51); Tr. (Kibbe) 198:19-22; Tr. (Peroutka) 61:4-8.) Thus,

a POSA would understand that if a drug has a half-life of 3-4 hours, another dose is required

after 3-4 hours to maintain the level of drug in the blood. (Tr. (Peroutka) 61:12-21.) A sustained

release formulation, by delivering drug to the body over an extended period of time, can provide



                                              - 23 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 28 of 60 PageID #: 7034



a longer duration of action for drugs with a short half-life by gradually releasing drug over time

to maintain concentration levels. (Tr. (Peroutka) 61:22-62:5.)

       101.    Second, a good candidate drug for sustained release would have a relatively

efficient absorption to allow it to be absorbed relatively efficiently and uniformly along the

gastrointestinal tract. (Tr. (Kibbe) 198:23-199:4.)

       102.    Third, a relatively small dose is required for a candidate for sustained release

dosing so that the resulting dosage form is convenient to swallow. (Id. at 199:5-17.)

       103.    Finally, because sustained release formulations are often used to treat chronic

conditions, drugs used to treat a chronic condition serve as good candidates for such a

formulation. (Id. at 199:18-200:1.) If a drug satisfies these criteria, a POSA would have

expected to use a number of different known sustained release platforms with a reasonable

expectation of success. (Id. at 234:2-11.)

               6.      A POSA would have known that 4-AP satisfies the criteria for being
                       an attractive sustained release drug

       104.    Prior to 1990, a POSA would have known the advantages of a sustained release

formulation and would have recognized that 4-AP satisfied all of the characteristics of a

candidate for sustained release.

       105.    In 1982, Uges et al. published a paper titled “4-Aminopyridine Kinetics,” Clin.

Pharmacol. Ther. 31(5):587-593 (1982) (“Uges”), which is a printed publication published in the

United States and available to persons of ordinary skill in the art in 1982, before the priority date

of all of the patents-in-suit. (JTX-137.) Uges examined nine healthy subjects who received three

different administrations of 20 mg of 4-AP, an IV and uncoated tablet (both immediate release),

and an enteric dose (delayed release). (Tr. (Kibbe) 201:4-23; JTX-137.) Uges disclosed that the

half-life of 4-AP was approximately four hours. (Id.)



                                               - 24 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 29 of 60 PageID #: 7035



       106.      Drugs like 4-AP with a four-hour half-life are good candidates for sustained

release because an immediate release dosage form would have to be administered four to six

times per day. (Tr. (Peroutka) 61:4-62:5.) Thus, a POSA would be motivated to develop a

sustained release formulation so that the drug can be absorbed over a longer period of time and

need only be taken once or twice a day. (Tr. (Kibbe) 201:4-23.)

       107.      A POSA would also have known that 4-AP is a good candidate for sustained

release because Uges taught that the bioavailability of the enteric-coated tablets was 95 plus or

minus 29 percent, which means that almost 100 percent of the drug was absorbed even when its

absorption had been delayed. (Tr. (Kibbe) 201:25-202:5.) This means that the drug is absorbed

efficiently over time, making it a good candidate to create a sustained release product. (Id. at

203:20-204:7.)

       108.      Uges also disclosed that almost 100 percent of the drug, regardless of how it was

administered, was excreted unchanged in the urine.          (Id. at 202:6-12.)     This means that

biotransformation is unlikely, and there is not likely to be any risk of the first pass effect in the

administration of 4-AP. (Id.)

       109.      All of these characteristics of 4-AP reported in Uges taught a person of ordinary

skill in the art at the time the study was published that 4-AP was an excellent candidate for

sustained release and would give such a person motivation to go forward. Since a POSA also

would have known that MS is a chronic disease—therefore requiring treatment for a prolonged

period of time—a POSA would have a strong motivation to create a sustained release dosage

form of 4-AP based on the disclosures in the prior art, such as Uges and Remington’s. (Tr.

(Kibbe) 226:2-24.)

       110.      A POSA would not have dismissed the results of Uges because of the small




                                               - 25 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 30 of 60 PageID #: 7036



sample size, because a POSA would recognize it as appropriate for a preliminary study and

would provide information that motivates the formulator to move forward. (Id. at 203:6-19.)

       111.    Because the half-life and bioavailability data reported in Uges are consistent, a

POSA would have a basis for moving forward with developing a sustained release formulation

prior to 1990. (Id.) Indeed, Stefoski I found that 4-AP’s duration of action was consistent with

that found by Uges—a half-life of about four hours. (Tr. (Peroutka) 77:20-78:8.)

       112.    In view of 4-AP’s short half-life as described in Stefoski I and the description of

the therapeutic window described in Davis, a person of ordinary skill in the art would have

concluded that it would be advantageous to use a sustained release formulation to administer 4-

AP to humans. (Tr. (Peroutka) 81:5-10.) Specifically, when considering a treatment for MS, a

neurologist or pharmacologist would have known that without a sustained release formulation, a

patient would have to be dosed every three to four hours in order to obtain an “all-day”

treatment. (JTX-112; Tr. (Peroutka) 77:20-78:8.)

       113.    It is not surprising, therefore, that Elan moved to developing a sustained release

formulation of 4-AP due to issues of potential side effects and patient compliance. (Tr. (Myers)

155:20-156:2; 157:1-16; Tr. (Fogarty) 161:10-18.)         While Elan was developing multiple

immediate release formulations of 4-AP, (Tr. (Fogarty) 160:18-161:9), Dr. Blight, one of the two

listed inventors on the Acorda patents, testified that it was “not unusual” or “particularly

mysterious” “to be interested in sustained release for a drug which has a short half life, which [4-

AP] does.” (Tr. (Blight) 164:10-15.)

       114.    The specification of the Elan patent admits that it was desirable to make a

sustained release formulation of 4-AP. (Tr. (Fassihi) 373:19-23.) The “Background and Prior

Art” section of the Elan patent itself states that “[f]urther, in view of the nature of neurological




                                               - 26 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 31 of 60 PageID #: 7037



diseases, it can be appreciated that there is a need for an improved dosage form.” (JTX-001 at

2:10-13.) The Elan patent further explains that “such a formulation must result in a controlled

release of drug to the system circulation and therapeutically effective blood levels throughout a

given treatment period.” (Id. at 2:13-16.) A POSA would have had a reasonable expectation of

making a sustained release formulation of 4-AP using the known sustained release platforms.

               7.     A POSA would have known how to make a sustained release
                      formulation of 4-AP

       115.    Prior to 1990, a POSA would have known how to make a sustained release

formulation of 4-AP that could provide a therapeutically effective blood level for a period of 12-

24 hours when given once or twice daily.

       116.    The asserted claims of the Elan patent do not require a particular sustained release

formulation of 4-AP. (Tr. (Kibbe) 219:7-12; Tr. (Fassihi) 374:6-13.) Therefore, a POSA would

understand that any known sustained release platform could potentially be used to develop a

sustained release formulation of 4-AP.

       117.    There were “lots of different platforms that [could] be used to make a sustained

release” formulation of 4-AP that were known in the art in 1990. (Tr. (Kibbe) 208:21-209:2.)

Remington’s 1990 edition discloses lists of 39 FDA-approved commercially available sustained

release products from 14 different companies for each of five known sustained release platforms:

reservoir diffusion, matrix diffusion, matrix dissolution, encapsulated dissolution, and ion

exchange.     (JTX-081 at AMP-DEF-0000177-180; Tr. (Kibbe) 208:24-209:2; Tr. (Fassihi)

368:17-21.)    Further, Remington’s 1990 edition does not simply inform readers that the

platforms exist, but “actually lay[s] out how you can make [the platforms] and what excipients

are appropriate for these dosage forms.” (Tr. (Kibbe) 209:8-11.)

       118.    As just one specific example, the Elan patent includes one embodiment using a



                                              - 27 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 32 of 60 PageID #: 7038



sustained release platform that was disclosed in Remington’s 1990 edition and was well-known

in the art.      The Elan patent teaches making a matrix core or membrane using

hydroxypropylmethylcellulose as the water soluble polymer. (JTX-001 at 4:41-46; Tr. (Kibbe)

219:7-220:11.) The pellets or granules are then compressed into tablets. (Tr. (Kibbe) 219:7-

220:11.) A POSA could also make any number of other sustained release platforms in which 4-

AP would work, including the system used for Contac®, in which 4-AP would work “quite

nicely.” (Tr. (Kibbe) 208:18-210:7.)

       119.    A POSA would have ensured that the sustained release formulation would last

over a course of a longer period by choosing a platform and excipients and then dissolution

testing to determine which combination, “when it’s administered, [] will release the drug, at least

over six hours or more to get you to a sustained release product.” (Tr. (Kibbe) 210:8-211:9.)

This process is “really straightforward.” Id.

       120.    Dr. Myers, an inventor of the Elan patent, confirmed that it took him only three or

four weeks to put about three or four formulations on paper, and about a day to actually

physically make the sustained release formulation of 4-AP. (Tr. (Myers) 154:2-155:6.)

       121.    Dr. Myers had experience with a sustained release platform and simply “added

this active ingredient instead of a different one and adjusted the platforms with routine testing

until [Elan] got the dissolution pattern and therefore the blood level that they wanted.” (Id. at

211:18-23.)

       122.    A POSA also would not have required there to be an immediate release

formulation approved by the FDA before having motivation to make a sustained release

formulation. Because FDA submissions are confidential, the fact that a product is approved by

the FDA does not mean that there is a substantial amount of information about that product in the




                                                - 28 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 33 of 60 PageID #: 7039



literature.    (Tr. (Kibbe) 232:2-233:2.)   As long as there is enough information known in

literature, a POSA would be motivated to move forward. (Id.) For example, although not FDA-

approved, an immediate release version of 4-AP was known and studied in the prior art by at

least Stefoski I, Davis, Uges, and Elan themselves. (JTX-112, JTX-043, JTX-137, Tr. (Fogarty)

160:18-161:9.)

        C.       The Asserted Claims of the Acorda Patents are Obvious Over the Prior Art
                 Because They Simply Narrow the Elan Patent to Treat a Known Symptom of
                 MS Using a Known Dose for an Obvious Period of Time Resulting in Known
                 Pharmacokinetic Parameters

        123.     Although the Plaintiffs assert 16 claims from the Acorda patents, the limitations

of these claims fall into five specific “core” categories: a method of treatment where (1) a

sustained release formulation of 4-AP is administered to treat MS patients; (2) the dose is 10 mg

given twice-a-day (b.i.d.); (3) in order to improve walking (i.e. to increase walking speed); (4)

where certain pharmacokinetic ranges result; and (5) the dose is administered for at least two

weeks without titration. (Tr. (Peroutka) 66:21-67:12.) Dr. Cohen testified that his claimed

invention is the 10 mg b.i.d. dose. (Tr. (Cohen) 305:25-306:5.)

        124.     As will be explained below, the Acorda patents claim a subset of what is covered

by the Elan patent, and the claim limitations were obvious in light of the prior art, which includes

the Elan patent. (Tr. (Peroutka) 89:1-9.) Indeed, Plaintiffs concede that the scope of the Acorda

patents is not broader than the scope of the Elan patent. (Tr. (Closing) 794:4-795:11.)

                 1.     The Elan patent discloses a known sustained release 4-AP formulation
                        to treat MS

        125.     The Elan patent is listed in the Orange Book for Ampyra®. (Tr. (Peroutka) 50:24-

51:13; DTX-204.) As discussed above, the Elan patent describes a method for the treatment of

MS using a sustained release formulation of 4-AP. (Tr. (Peroutka) 64:9-66:2; Tr. (Kibbe) 184:6-

9; JTX-001.) The Elan patent teaches a person of ordinary skill in the art about how to


                                               - 29 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 34 of 60 PageID #: 7040



manufacture a sustained release formulation of 4-AP. (Tr. (Kibbe) 219:7-220:11.)

       126.    The Elan patent was published in 1996, years before the priority dates of the

Acorda patents, and constitutes prior art for the Acorda patents. (Tr. (Kibbe) 218:20-25.) The

patentees of the Acorda patents referred to and relied on data found in the Elan patent in the

prosecution history of the Acorda patents. (Tr. (Peroutka) 87:17-20; JTX-007.) Thus, a POSA

would have known from the Elan patent that a sustained release formulation of 4-AP could be

used to treat MS, and have a reasonable expectation of success that such a formulation would

result in the therapeutic efficacy claimed in the Elan patent. (Tr. (Peroutka) 82:22-83:9.)

       127.    Acorda has admitted that these limitations of the asserted claims would have been

obvious to a POSA. (Tr. (Cohen) 273:25-274:6; 302:2-22 (admitting that the use of 4-AP to treat

MS had been proposed and tested before Acorda came along).) Dr. Cohen, one of the listed

inventors on the Acorda patents and the President and CEO of Acorda, admitted that he and Dr.

Blight, a listed co-inventor on the Acorda patents, did not invent the concept of using 4-AP in a

sustained release formulation to treat MS patients. (Tr. (Cohen) 302:23-303:1.) Instead, Acorda

took an exclusive license from Elan to use the Elan patent for the treatment of MS, (Tr. (Cohen)

303:17-304:2), and even obtained from Elan the 10 mg 4-AP sustained release product it used in

clinical studies. (Tr. (Cohen) 304:3-8; Tr. (Blight) 166:12-14.) According to Cohen, “Elan

invented the sustained release formulation that [Acorda] used and [is currently] using.” (Tr.

(Cohen) 302:23-303:4.) Neither of the named inventors for the Acorda Patents are formulation

scientists. (Tr. (Blight) 165:8-13.) Indeed, prior to 2004, Acorda did not do any development or

formulation work on any sustained release formulation for 4-AP and never modified any

sustained release formulation for 4-AP. (Tr. (Cohen) 304:9-21; Tr. (Blight) 163:14-20.)




                                               - 30 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 35 of 60 PageID #: 7041



               2.      Additional prior art confirms that a sustained release formulation of
                       4-AP was known

       128.    Sustained release formulations of 4-AP were also known to a POSA from, e.g.

Schwid. Schwid is a printed publication published in the United States and available to persons

of ordinary skill in the art in 1997. (Tr. (Peroutka) 91:12-92:4; JTX-104; D.I. 252, Ex. 1 at ¶ 61.)

       129.    A POSA would have known that the problem of peak serum levels can be

alleviated by a sustained release formulation where the Cmax—the highest concentration of drug

measured in a pharmacokinetic study—is typically lower than in immediate release formulations

of the same drug. (Tr. (Peroutka) 58:10-59:21.) Because the drug is delivered to the body over

time, rather than at once, a sustained release formulation can circumvent potential toxicity

problems. (Id.)

       130.    Dr. Blight, one of the named inventors of the Acorda patents, admitted that

Acorda looked at sustained release formulations for 4-AP for this very reason. (Tr. (Blight)

164:10-25.)   According to Dr. Blight, sustained release formulations are a fairly standard

approach to drug development for a drug with a short half-life, such as 4-AP. (Id.)

       131.    Schwid also provides a brief introductory description of an unpublished study

done by Elan in 1994 in which Elan’s sustained release 4-AP formulation was administered to

161 people with MS for six weeks. (Tr. (Goodman) 465:21-467:13.) According to Schwid, the

1994 Elan study used a sustained release preparation of 4-AP because pharmacokinetics had

shown that seizures and bad toxicity occurred when serum 4-AP levels peaked in patients. (Tr.

(Peroutka) 91:12-92:4; JTX-104.) But the clinical endpoint measured by the 1994 Elan study

was the Expanded Disability Status Scale (“EDSS”). (Tr. (Peroutka) 93:8-13.) The Schwid

publication itself reported that the EDSS may have been an inadequate outcome variable for this

test. (Id. at 93:16-18.) In fact, in assessing the 1994 Elan Study, Dr. Goodman advised Acorda



                                               - 31 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 36 of 60 PageID #: 7042



that the EDSS was not an effective outcome variable for measuring improvements in walking.

(Tr. (Goodman) 542:19-543:1.) Since the Schwid study, no other study has used EDSS as the

sole outcome variable in testing 4-AP. (Tr. (Goodman) 546:1-4.)

       132.    Schwid reported in detail on a subsequent study using 4-AP in MS patients. (Tr.

(Goodman) 469:18-470:9; JTX-104.) This study also used Elan’s sustained release formulation.

(Tr. (Goodman) 471:11-23; Tr. (Cohen) 305:3-24.) The data reported in Schwid showed that

timed gait improved in nine out of 10 patients administered a dose of 17.5 mg b.i.d. compared to

the placebo group. (Tr. (Peroutka) 91:17-92:12.) The authors, which included Dr. Goodman,

concluded that sustained release 4-AP administered twice daily improved motor function in MS

patients. (Id. at 92:5-15.)

       133.    From the teachings of Schwid, a POSA would have known to use and had a

reasonable expectation of success in using a sustained release formulation of 4-AP. While Dr.

Goodman claimed that the unpublished study mentioned in Schwid would have discouraged a

POSA from further attempts to treat MS with a sustained release 4-AP formulation, Dr. Peroutka

explained why that is not the case. (Tr. (Peroutka) 93:8-13.) Dr. Peroutka testified that Schwid

found the EDSS to be “imprecise due to substantial intrarater and interrater variability.” (Tr.

(Peroutka) 93:8-95:15.) Further, Dr. Peroutka testified that Schwid used a fix dose of 17.5

milligrams b.i.d. and found “an improvement in motor function, and that there were quantitative

measures that could be used that was [sic] more sensitive than the EDSS score.” Id.

       134.    A POSA would also have known about the efficacy of 4-AP sustained release

formulations from Goodman et al., “Placebo-Controlled Double-Blinded Dose Ranging Study of

Fampridine-SR in Multiple Sclerosis,” Multiple Sclerosis, vol. 8, Suppl. July 2002, S 11 6-S 117

(P308) (“Goodman I”) (JTX-062), which is a printed publication published in the United States




                                             - 32 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 37 of 60 PageID #: 7043



and available to a person of ordinary skill in the art in 2002. (D.I. 252, Ex. 1 at ¶ 49.) Dr.

Goodman—Plaintiffs’ expert witness and long-time consultant for Elan and Acorda—was the

lead author of Goodman I. (Goodman, 474:15-21; 475:6-13.)

       135.    Dr. Goodman publicly displayed the results of the data reported in Goodman I at

the seventh annual meeting of the America’s Committee for Treatment and Research in Multiple

Sclerosis (“ACTRIMS-ECTRIMS”) (the “Goodman Poster” or “Goodman Presentation”) (JTX-

080; JTX-080A) in Baltimore, Maryland, in September 2002. The Goodman Presentation was

publicly presented in the United States and available to a person of ordinary skill in the art in

September 2002.

       136.    In 2003, Goodman again disclosed the results of Acorda’s test of Elan’s 10 mg 4-

AP sustained release product. (Tr. (Cohen) 306:6-307:7; JTX-061, Goodman et al., “Placebo-

Controlled Double-blinded Dose Ranging Study of Fampridine-SR in Multiple Sclerosis,”

Neurology, vol. 60 (5 Supp. 1), A167 (March 2003) (“Goodman II”).).               Dr. Goodman

characterized the disclosure in Goodman II (JTX-061) as being formatted differently from

Goodman I, but having exactly the same content. (Tr. (Goodman) 479:9-12.) Goodman II is a

printed publication which was published in the United States in March 2003 and available to a

person of ordinary skill in the art prior to the Acorda patents. (Id.)

       137.    The Goodman Poster reports the same study disclosed in Goodman I, but shows

more data than that provided by the abstract. (Tr. (Goodman) 479:16-480:2.)        Dr. Goodman

again presented the results of Acorda’s Phase II MS-F201 study (the “201 Study”) at the

America Academy of Neurology before December 2003. (Tr. (Goodman) 523:23-14.) There is

no question that the Goodman Poster was displayed and presented by Dr. Goodman in the public

domain before December 2003. (Tr. (Goodman) 524:11-14.)




                                                - 33 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 38 of 60 PageID #: 7044



       138.    The objective of the study reported in Goodman I, Goodman II, and the Goodman

Poster (collectively, “the Goodman References”) were twofold: To “[d]etermine the safety of

multiple doses of [sustained release 4-AP] (one week each of 20 mg/day, 30 mg/day, 40 mg/day,

50 mg/day, 60 mg/day, 70 mg/day and 80 mg/day;” and to “[o]btain evidence of efficacy and

dose-response using several outcome measures…” (JTX-080A.)

       139.    The study reported in Goodman I used Elan’s sustained release formulation. (Tr.

(Cohen) 306:6-8.)

               3.      The prior art taught that 10 mg of sustained release 4-AP was an
                       obvious choice

       140.    Based on the teachings of the references known in the art prior to the date of the

Acorda patents, a POSA would have known that 10 mg given twice a day (i.e., 20 mg/day) was

an appropriate dose to deliver in a sustained release formulation of 4-AP.

       141.    The 1987 Stefoski I study tested a range of 7.5 to 52.5 mg of 4-AP, measured in a

single day and administered by an injection of 7 to 35 mg of 4-AP total for the day, given in 1- to

5 mg doses every 10 to 60 minutes. The authors found this range to be safe and effective. (Tr.

(Peroutka) 107:21-108:15.)

       142.    Similarly, the 1990 Davis study teaches that 10 mg doses were efficacious in a

study where 15 MS patients were given 4-AP. (Tr. (Peroutka) 77:15-82:16; JTX-043.) Indeed,

the Davis study doses from 10-25 mg, administered as a single dose in one day, with individual

doses of 25, 20, 15, 12.5, and 10 mg. The study then compared the doses from the 10-25 mg 4-

AP group against a placebo group and found mild to marked improvements as a result of the

treatment with 4-AP. (Id.) Davis also found that at these doses, no serious adverse events, e.g.,

seizures, occurred. (Id.)

       143.    In 2002, Goodman I disclosed results from his tests of the efficacy of 4-AP



                                              - 34 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 39 of 60 PageID #: 7045



sustained release formulations in doses in the range of 20 to 80 mg b.i.d.

       144.    Goodman I, Goodman II, and the Goodman Poster all practice the Elan patent

with the Elan formulation and report on Acorda’s 201 Study that supported FDA approval of

Ampyra®. (Tr. (Cohen 306:14-307:7.) That study began with a placebo in the first week and

then went to 20 mg/day (i.e., 10 mg of 4-AP sustained release twice a day) for the second week.

Doses increased weekly in increments of 10 mg per day up to a total of 80 mg per day during the

eighth week. (Tr. (Goodman) 476:15-19.) The study reported “[e]vidence of dose-response in

20-40 mg/day range,” i.e., 10 to 20 mg taken twice daily. (JTX-080A; Tr. (Goodman) 528:11-

17.)

       145.    The Goodman Poster also concluded that the safety profile was “consistent with

previous experience” and that there was “[l]ittle added benefit, and increased [adverse events] at

doses above 50 mg/day.” (JTX-080A.) The Goodman Poster teaches that the dose range for

further testing would be the 20 to 40 mg per day range because, in the results summary of the

poster, Dr. Goodman was teaching away from using 4-AP at doses above 40 mg a day to treat

MS patients. (Tr. Goodman 534:17-535:4; JTX-080A.)

       146.    By 2003, Hayes et al. published “Pharmacokinetic studies of single and multiple

oral doses of fampridine-SR (sustained-release 4-aminopyridine) in patients with chronic spinal

cord injury,” Clin. Neuropharmacol. 26(4):185-192 (2003) (“Hayes III”) (JTX-069). This study

is a printed publication published in the United States and available to persons of ordinary skill

in the art in 2003. (JTX-069.) Hayes III discloses a dosing regimen of 10, 15, 20, or 25 mg of 4-

AP given twice daily for six days, then once on the seventh day. (Tr. (Goodman) 464:1-5.)

       147.    Based upon the teachings of these and other prior art references, a POSA would

have been motivated to use a dose of 10 mg of 4-AP in a sustained release dosage form




                                               - 35 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 40 of 60 PageID #: 7046



administered twice a day. (JTX-080.) A POSA would know that the prior art taught that oral

doses of 4-AP were safe and effective at 7.5-52.5 mg/day (Stefoski II (JTX-113)), 10-25 mg/day

(Davis (JTX-043)), 20-50 mg/day (Hayes III (JTX-069)), 35 mg/day (Schwid (JTX-104)), and

20-40 mg/day (Goodman I, II, Poster (JTX-061; JTX-062; JTX-080; JTX-080A)).                      (Tr.

(Peroutka) 107:9-108:20.) Thus, a 20 mg/day dose would be considered by a POSA to be

amongst the lowest dose that is both safe and effective. (Tr. (Peroutka) 104:7-105:3; 107:21-

108:15; JTX-080.)

       148.    Dr. Blight admitted that there were prior studies that had used 10 mg of 4-AP

twice a day in patients as the initial dose, and that Acorda considered those studies, taking into

account “all previous work,” in determining to start with 10 mg twice a day in the design of its

own studies. (Tr. (Blight) 166:20-167:5.)

       149.    A skilled artisan reading the Goodman references in 2004 could not expect any

dose in the 20 to 50 mg per day range to be more effective than any of the other doses in that

same range. (Tr. (Goodman) 533:1-535:4.)

               4.      The prior art taught that 4-AP was useful in improving walking
                       and/or walking speed

       150.    Weakness in the legs and/or impaired walking is one of the most common

symptoms of MS, with approximately 50 to 75 percent of MS patients experiencing difficulty

walking.   (Tr. (Peroutka) 55:9-56:4; Tr. (Goodman) 432:21-23.)           It was well-known and

accepted prior to the priority dates of any of the patents-in-suit that difficulty with walking was a

common symptom of MS. (Tr. (Peroutka) 55:9-56:4.)

       151.    Davis found that 10 mg doses of 4-AP going up to 25 mg showed mild to marked

improvements in power coordination and gait in nine of 13 involved subjects. (Tr. (Peroutka)

77:15-82:16; JTX-43.)



                                               - 36 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 41 of 60 PageID #: 7047



       152.    Schwid reported that “timed gait was improved on 4-AP SR [sustained release]”

compared to the placebo in nine out of 10 subjects (Tr. (Peroutka) 91:15-19; Tr. (Goodman)

472:15-16; see also JTX-104.) Schwid disclosed that treatment with 4-AP appeared particularly

efficacious in subjects who achieved serum levels above 60 ng/l, with everyone improving in

timed gait testing and grip strength and subjective impression. (Tr. (Goodman) 473:20-25; see

also JTX-104.)

       153.    Goodman I and Goodman II reported that the 4-AP Sustained Release group

showed statistically significant improvement from baseline compared to placebo in functional

measure of mobility (timed 25 walking speed, P=0.04) and lower extremity strength (manual

muscle testing, P=0.01). (Tr. (Goodman) 477:4-12; Tr. (Cohen) 307:14-17; JTX-061.)

       154.    The Goodman Poster reported that the study showed a “significant benefit on

timed walking.” (Tr. (Goodman) 532:14-17.)

       155.    Prior to 2004, Acorda announced on its publicly accessible website, under the

heading “Clinical Trials” that:

               Approximately 550 people have been treated with Fampridine-SR in 14
               clinical trials, including . . . six clinical trials for MS. Participants in MS
               studies demonstrated improved walking ability and lower leg strength.

 (Tr. (Cohen) 307:14-17; DTX-584.)

       156.    Solari et al., “Aminopyridines for symptomatic treatment in multiple sclerosis,”

Cochrane Review, in The Cochrane Library, issue 2 (2003) (“Solari”) (PTX-416) is a printed

publication published in the United States and available to persons of ordinary skill in the art in

2003, which is before the priority date of the Acorda patents. Solari did not conduct any original

clinical studies and did not consider many of the available studies and information in the prior

art, including the Elan patent and the Hayes and Goodman studies. (Tr. (Peroutka) 104:25-




                                               - 37 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 42 of 60 PageID #: 7048



105:18.) Looking at some of the studies in the prior art, Dr. Solari found that 54% of patients

experienced improved motor functions when being administered 4-AP versus 7% during

placebo. (Tr. (Peroutka) 106:8-107:5.) Because there was a one in 1,000 chance that this finding

was random, a person of ordinary skill in the art would have significant motivation to further

explore using 4-AP to improve motor function in MS patients. (Tr. (Peroutka) 106:8-107:5.) Dr.

Peroutka testified that a POSA would have had “significant motivation” from Solari to explore

motor function, even if it did not provide motivation for other symptoms. (Tr. (Peroutka) 106:8-

107:5.)

                 5.     The prior art specifically disclosed the pharmacokinetic (“PK”)
                        parameters claimed in the Acorda Patents, which also are inherent to
                        dosing with a 10 mg dose twice daily

          157.   Pharmacokinetics is the science of measuring what happens to the drug after it is

ingested.    (Tr. (Peroutka) 57:17-22.)    As. Dr. Kibbe explained, this process is known as

“LADMER”—liberation, absorption, distribution, metabolism, excretion, and response. (Tr.

(Kibbe) 179:3-18.)

          158.   Obtaining pharmacokinetic (“PK”) data is a standard part of drug development.

(Tr. (Peroutka) 58:25-2.) PK data is expressed using terms of art like Cmax, the concentration of

drug in the blood at the highest concentration observed in the pharmacokinetics study. (Tr.

(Peroutka) 58:10-12.)

          159.   The PK parameters of a drug that is administered multiple times is different from

a single dose. (Tr. (Peroutka) 62:6-63:17.) When a single dose is administered, the PK profile

rises quickly, reaches Cmax, and then falls relatively quickly. (See DDX 2-15).

          160.   When an additional dose is administered before the plasma concentration returns

to zero, the newly administered drug will cause the plasma concentration to rise again. (Tr.

(Peroutka 62:10-63:17.) Over multiple doses, the PK will eventually reach an equilibrium or


                                               - 38 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 43 of 60 PageID #: 7049



steady state where the Cmin will be at a certain level and the Cmax will be a certain level (Id.; see

also DDX 2-17).

        161.   The PK values in the Acorda patents are inherent, known and disclosed in the

prior art in connection with the sustained release formulation of 4-AP and dosing regimen of 10

mg twice a day. (Tr. (Kibbe) 218:8-219:9; 226:10-13.)

        162.   PK values are a function of the amount of drug absorbed into the plasma over

time.   Accordingly, the PK parameters in the Acorda patents are a natural result of the

administration of 10 mg b.i.d. of 4-AP sustained release product. (Tr. (Kibbe) 226:10-226:13.)

Because the administration of 10 mg b.i.d. of 4-AP SR was already disclosed in the art, a POSA

would have known that the PK profiles that result from the administration of such a dosage form

are inherent within a specific mode of administration. (Tr. (Kibbe) 218:3-19.) Thus, a prior art

reference which discloses the b.i.d. administration of the 10mg 4-AP SR formulation inherently

discloses the PK values that can be measured during the b.i.d. administration period. (Id.)

        163.   Moreover, the prior art contains teachings that a POSA could use to calculate the

PK values from a 4-AP SR formulation. Indeed, a POSA would be able to calculate PK values

from the teaching in Uges. (Tr. (Kibbe) 218:8-219:9.)

        164.   In 2001, Hayes published the results of a study on the plasma concentration of 4-

AP sustained release.        Hayes, “Open-Label, Multiple-dose Study to Determine the

Pharmacokinetics and Safety of Fampridine-SR in Patients with Chronic Spinal Cord Injury,”

Annals of Neurology, 50 (31); S62(201) (2001) (“Hayes I”) (JTX-068). This study, which is

prior art to the Acorda patents, was eventually published in the ’826 patent (one of the Acorda

patents). (Tr. (Blight) 166:9-17.)

        165.   Hayes III later reported the PK data from the actual Ampyra® clinical trial




                                               - 39 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 44 of 60 PageID #: 7050



studies. (Tr. (Peroutka) 87:25-88:2; JTX-069 at AMP-DEF-0000501; JTX-002 at 25:1-28.)

These studies included (a) a study to determine the PK and safety profile of an oral sustained

release formulation of 4-AP, administered as a single dose; and (2) a study to determine the PK

and safety profile of an oral sustained release formulation of 4-AP twice daily for one week in

patients with chronic spinal cord injuries. (Tr. (Peroutka) 95:23-96:24; JTX-069.)

        166.    Hayes III reported: (a) that the sustained release 4-AP formulation was absorbed

slowly; (b) the peak plasma concentration shortly after doses (2.6 to 3.7 hours); (c) the plasma

half-life (5.6 to 6.7 hours); and (d) that it reached steady state after four days of twice daily

administration. (Tr. (Peroutka) 95:23-96:24; JTX-069.)

        167.    The Tmax, the Cavg at steady state and the ratio of Cmax to Cmin at steady state

values reported in Hayes III, in connection with the dosage of 10 mg b.i.d., are all within the

claimed pharmacokinetic limitations of the Acorda patents. (Tr. (Peroutka) 96:25-97:5; JTX 69.)

        168.    The fact that the Hayes III study was done on spinal cord patients rather than MS

patients would have no impact on the PK values disclosed in the study, because there would be

no difference in the pharmacokinetics of an MS patient and those of a spinal cord patient. (Tr.

(Kibbe) 224:20-22.)

        169.    Dr. Blight and Dr. Cohen referred to and relied upon the PK data in Hayes III in

the ’826 patent. (Tr. (Kibbe) 223:25-224:15.) In fact, a table disclosing PK data in the ’826

patent is identical to the table disclosed in Hayes III. (Id.)

                6.      Extending a stable dosing regimen to two weeks and beyond was
                        obvious

        170.    MS is a chronic disease, and the disability that an MS patient has once it is

established and stable will remain for the rest of that patient’s life. (Tr. (Peroutka) 52:8-12.)

Consequently, MS needs to be treated chronically, meaning indefinitely. (Id.; Tr. (Peroutka)



                                                 - 40 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 45 of 60 PageID #: 7051



49:17-50:9; Tr. (Kibbe) 199:22-200:1; 218:3-19.) Thus, a POSA would have been motivated to

treat MS patients for at least two weeks. (Tr. (Kibbe) 226:14-17.)

       171.    The Elan patent does not discuss duration but does discuss the treatment of a

symptom of a chronic disease. (JTX-001.)

       172.    The prior art in 2004 contained data concerning treatment using 4-AP for 32

months in Polman I and three months in Van Diemen II. (Tr. (Peroutka) 109:6-22; JTX-095;

DTX-572.)1

       173.    Likewise, Murray taught a person of ordinary skill in the art that doses of 4-AP

under 80 mg could be used to treat humans chronically without any serious seizure effects, up to

10 months. (Tr. (Peroutka) 75:5-11.)

       174.    The Goodman Poster contains no suggestion that 4-AP would be less effective in

treating MS, a chronic disease, over time. (Tr. (Peroutka) 104:17-24.) Based on the data

reported in the Goodman Poster, a POSA would have a reasonable expectation that a dose of 10

mg of 4-AP sustained release administered twice a day would work for longer than two weeks.

(Tr. (Peroutka) 104:7-105:3.)

       175.    Based on the literature and data in the prior art, a POSA in 2004 would expect

that the 10 mg twice a day sustained release formulation of 4-AP would work for more than two

weeks. (Tr. (Peroutka) 104:7-105:3.) Indeed, these references do not mention any loss of



1
  Van Diemen, et al., “4-Aminopyridine in patients with multiple sclerosis: dosage and serum
level related to efficacy and safety,” Clin. Neuropharmacol., Vol. 16(3), 195-204 (1993) (“van
Diemen II”) (AMP-DEF-0000660), is a printed publication published in the United States and
available to persons of ordinary skill in the art in 1993, which is before the earliest priority date
of the Acorda Patents. (Joint Pretrial Order, Ex. 1 at ¶ 65.) Polman et al., “4-Aminopyridine in
the Treatment of Patients with Mulitple Sclerosis,” Arch. Neurol., Vol. 51, 292-96 (March 1994)
(“Polman I”) (AMP-DEF-0000565), is a printed publication published in the United States and
available to persons of ordinary skill in the art in 1994, which is before the earliest priority date
of the Acorda Patents. (Joint Pretrial Order, Ex. 1 at ¶ 57.)


                                               - 41 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 46 of 60 PageID #: 7052



efficacy in treatment over time, any reason that 4-AP cannot be administered indefinitely, or

provide any other teaching that would discourage a POSA from administering a sustained release

formulation of 4-AP for at least two weeks as required by the asserted claims (Id.) There is no

evidence in the prior art suggesting that 4-AP could not be used chronically. (Tr. (Peroutka)

104:7-105:3.)

       176.     A POSA in 2004 would have been motivated to choose 10 mg as a dose and

would have treated MS patients for at least two weeks because it is a chronic condition. (Tr.

(Kibbe) 226:14-17.)

       177.     Once an efficacious dose is found, the general goal of drug development is to

provide a stable dosing regimen. (Tr. (Peroutka) 99:9-11.) This is because it is desirable for a

patient to be prescribed a dose on a regular basis. (Tr. (Goodman) 553:1-20.) The patentees

discussed Schwid in the prosecution history of the ’826 patents, arguing in a statement to the

USPTO that Schwid disclosed “fixed” or stable dosing of 4-AP. (Tr. (Peroutka) 95:3-15; JTX-

007 at AMPFH0002449.) A POSA would have, therefore, also been motivated to administer a

stable dose of 10 mg 4-AP to treat MS.

       178.     Claims 1, 3, and 8 of the Elan patent are silent on titration. (Tr. (Peroutka) 65:18-

19; Tr. (Lublin) 414:25-416:10; JTX-001.) Claim 5 of the Elan patent, though, is dependent on

claim 1 and requires a dose titration. (JTX-001; Tr. (Lublin) 416:4-10.) Claim 1’s silence on

titration therefore demonstrates that it allows for a stable dose.

       179.     The Acorda patents are obvious because they narrow a known dose (10 mg twice

daily) disclosed in the prior art, with a known use (treating symptoms of MS patients), with an

obvious stable dosing regimen for an obvious duration (i.e., chronically, because MS is a chronic

disease and, of course, anything that is chronic needs to be treated chronically). (Tr. (Peroutka)




                                                - 42 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 47 of 60 PageID #: 7053



50:3-9.)

               7.     The remaining limitations are also obvious over the prior art

       180.    There are other extraneous limitations of the Acorda Patents that the “core” (Tr.

(Peroutka) 69:24-70:8) limitations discussed above do not cover. (JTX-003 at 28:48-49 and

29:17-24; JTX-005 at 27:22-28 and 28:5-8.)

       181.    Based on the teachings of the references in the prior art, a POSA would have

known to use a tablet for the sustained release composition. (JTX-003 at 28:48-49.) The “Elan

[P]atent, among others, specifically disclose[d] a sustained release formulation that is a tablet.”

(Tr. (Peroutka) 111:6-8.)

       182.    A POSA would have also known to administer dalfampridine without other doses

of dalfampridine. (JTX-003 at 29:17-24.) The Goodman references, among others, “teach using

dalfampridine without other doses of dalfampridine.” (Tr. (Peroutka) 111:10-13.)

       183.    Further, a POSA would have known to include one or more pharmaceutically

acceptable excipients in the composition. (JTX-005 at 27:22-28.) The Elan patent, among

others, “teach[es] a sustained release composition with one or more pharmaceutically acceptable

excipients.” (Tr. (Peroutka) 111:16-19.)

       184.    Finally, a POSA would have known to create a sustained release profile that

extends over at least six hours. (JTX-005 at 28:5-8.) The Elan patent “teach[es] a sustained

release profile that extends over six hours.” (Tr. (Peroutka) 111:20-23.)

VI.    EVIDENCE OF SECONDARY CONSIDERATIONS CANNOT REBUT THE
       PRIMA FACIE OBVIOUSNESS OF THE PATENTS-IN-SUIT

       185.    Plaintiffs presented no evidence of secondary considerations with regard to the

Elan patent. Plaintiffs contend that the following secondary considerations are evidence of non-

obviousness with regard to the Acorda patents: unexpected results; long-felt but unmet need;



                                              - 43 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 48 of 60 PageID #: 7054



failure of others; and commercial success. (D.I. 252, Ex. 2 at ¶¶ 36-51.)2 However, Plaintiffs

have not set forth sufficient evidence to demonstrate that such secondary considerations were

present for Ampyra®.

       A.      No Evidence of Unexpected Properties/Benefits

       186.    Plaintiffs’ expert, Dr. Goodman, testified that the invention claimed by the

Acorda patents yielded unexpected results because “the 10 mg twice daily sustained release as

the, in essence, preferred dosage, was surprising given the prior art suggesting a need to go to

higher, higher doses and higher blood levels.” (Tr. (Goodman) 515:8-11.) According to Dr.

Goodman, the preference for 10mg was surprising because: (a) Dr. Goodman was personally

surprised that the 10 mg dose would work because he did not think it would be effective (Tr.

(Goodman) 517:11-25); and (b) Dr. Goodman and Dr. Cohen suggested that they were surprised

to see no meaningful difference between doses of 10, 15, and 20 mg. (Tr. (Cohen) 298:25-299:3;

Tr. (Goodman) 517:11-25.) Contrary to Plaintiffs’ claim, it was not unexpected that a 10 mg

dose twice daily would be effective, let alone as effective as 15 mg and 20 mg SR b.i.d.

       187.    First, Dr. Goodman actually disclosed the results of clinical trials delivering

multiple doses of fampridine SR twice a day in doses ranging from 10-80 mg per day and

teaching that the dose range for further testing would be 20 to 40 mg per day. (Tr. (Goodman)

476:15-476:19; 534:17-535:4; Goodman I; Goodman II; Goodman Poster.)

       188.    The Goodman Poster, which outlined the results reported in Goodman I and

Goodman II, reported evidence related to efficacy in walking from a Phase II study. (Tr.

(Peroutka) 693:19-25; see JTX 80A.) The Goodman Poster shows efficacy at 10 mg twice daily

for walking. (Tr. (Peroutka) 694:1-9.) The study shows “that at the lowest dose that they use, 20

2
  In the pretrial order, Plaintiffs offered a theory of teaching away. (Joint Pretrial Order, Ex. 2 at
¶ 79; Ex. 4 at ¶76. At trial, however, Plaintiffs pursued no such theory.



                                                - 44 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 49 of 60 PageID #: 7055



mg, that is 10 mg twice a day, there is a decrease of about three seconds,” to walk 25 feet. (Id.)

Specifically, the Goodman Poster states that “the average improvement in walking speed during

the low dose period, that is defined as 20 to 50 mg per day, including a greater than 20 percent

increase for nine of the 25 subjects,” or 36 percent of patients. (Tr. (Peroutka) 694:13-24; JTX-

80; JTX-80A.)

       189.     The efficacy taught in the Goodman Poster was also provided in Ampyra’s®

label. (Tr. (Peroutka) 695:9-22; see JTX-76.) The Ampyra® Label provides two figures from

two different trials. The figures show 32%-36% of patients improve walking speed, which is

almost identical to the results of the Goodman Poster. (Tr. (Peroutka) 695:9-695:2; JTX-76.)

       190.     Thus, Dr. Goodman’s own poster demonstrates that a 10 mg 4-AP SR dose b.i.d.

would be effective.

       191.     The Solari paper, also referred to as the Cochrane review, further demonstrates

that efficacy using 10 mg was not unexpected. In the Solari paper, the reviewers looked at

outcome measures, with the main focus on: (a) safety and (b) efficacy or changes in disability or

impairment scales assessing (A) motor function, (B) visual acuity, (C) cognition, and (D) fatigue.

(Tr. (Peroutka) 105:7-20.) The Solari paper also looked at quality of life, which is an efficacy

measure, and patients’ subjective responses. (Id.) Although Solari could draw no conclusions

regarding the efficacy of 4-AP across all of the symptoms of MS, when looking at endpoints

relating to walking, the Solari review found efficacy for motor function and ambulation. (Tr.

(Peroutka) 697:21-698:6; JTX-76 at 4-5.) Specifically, the Solari paper assessed ambulation in

three studies: (a) 54 patients assessed the efficacy of aminopyridine and ambulation on the

ambulation index in the two Bever papers; and (b) timed gait using the Schwid paper, wherein

nine out of ten patients improved in ambulation during the study treatment versus none during




                                              - 45 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 50 of 60 PageID #: 7056



treatment with placebo. (Tr. (Peroutka) 698:7-17; JTX-76 at 4-5.) Thus, the Solari paper

confirmed that 4-AP showed efficacy in ambulation and motor strength. (Tr. (Peroutka) 699:16-

20; JTX-76 at 4-5.)

       192.    Given the teachings in the Goodman Poster and Solari review, a POSA would not

have expected safety issues as of 2003 with 10 mg of sustained release 4-AP twice daily. (Tr.

(Peroutka) 700:7-14.) In fact, going back to the 1980’s, there were multiple doses used and

found to be safe in the 10-40 mg range, as reported by Dr. Goodman. (Id.) Therefore, it was not

surprising or unexpected that 10 mg of 4-AP twice a day was efficacious to treat walking with

lower adverse effects than higher doses. (Tr. (Peroutka) 700:20-24.)

       193.    Second, Dr. Goodman’s opinion that a POSA in 2004 would have been surprised

to find that there is no statistically significant change in efficacy between the administration of

20mg/day and 50 mg/day is similarly unsupported. At trial, Dr. Goodman admitted that the dose

response curve in Goodman I did not detect any significant differences among doses within the

range of 20-50 mg/day. (Tr. (Goodman) 533:1-4.) Indeed, Dr. Goodman disclosed that a skilled

artisan reading the Goodman references in 2004 could not expect any dose in the 20 to 50 mg per

day range to be more effective than any of the other doses in that same range. (Tr. (Goodman)

533:1-535:4.) In turn, based on the Goodman Poster, it was not unexpected that 10 mg twice a

day would be as efficacious as the higher dose. (Tr. (Peroutka) 696:3-20.)

       B.      No Evidence That Amprya Satisfied a Long-Felt Need

       194.    Dr. Goodman opined that Ampyra® satisfied a long-felt unmet need to improve

the quality of life of MS patients. (Tr. (Goodman) 511:15-512:5.) According to Dr. Goodman,

this long-felt unmet need is shown by the fact that FDA granted Acorda a priority review for

Ampyra® even though 4-AP had never been previously approved by FDA for pharmaceutical

use. (Id. at 512:6-17.)


                                              - 46 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 51 of 60 PageID #: 7057



       195.    Dr. Goodman provided no testimony regarding when this unmet need was

recognized in the art. Nor did he provide any testimony regarding the duration of time this

unmet need existed in the art without a solution.

       196.    Dr. Goodman admitted that only 15%-20% of his patients who suffer from

walking difficulties due to MS are prescribed Ampyra®. (Tr. (Goodman) 539:24-540:2.) This

low percentage of patients who are prescribed Ampyra® is direct evidence that Ampyra does not

satisfy a long-felt but unmet need. Ampyra® only addresses a subset need and a subset of

patients with that need, but does not address the need completely. (Tr. (Peroutka) 702:1-6.)

Simply put, Ampyra® only partially treats one symptom in a third of the subjects who might

need it and does not reverse the symptom to normal. (Tr. (Peroutka) 702:7-11.)

       C.      No Evidence of Failure of Others

       197.    Plaintiffs claim that the patents-in-suit are not obvious because others failed to

develop a therapy like Ampyra®. (Tr. (Goodman) 513:2-11.) First, Dr. Goodman contends that

the 1994 Elan study failed because it did not show therapeutic efficacy under the EDSS test.

(Id.) In other words, Dr. Goodman describes this study as a failure because it failed to prove

efficacy in a certain way—i.e. confirm the hypothesis it set out to confirm. (Id.)

       198.    To the contrary, the Schwid study found that EDSS was not an effective testing

variable for measuring improvements in walking, and more sensitive measures needed to be

created. (Tr. (Goodman) 542:19-543:1; Tr. (Peroutka) 703:22-704:19.) Indeed, Schwid explains

that the EDSS is “relatively insensitive to change due to its ordinal nature:”

               For example, a patient who needed a cane to walk 100 meters would need
               to improve enough to walk without the cane before the EDSS score would
               change. Lesser improvements in gait would not be reflected by the EDSS,
               and notable changes in strength or other deficits could also be overlooked.

(JTX-0104 at AMPDEL0166739.)



                                               - 47 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 52 of 60 PageID #: 7058



        199.    Since the Schwid study, no other study has used EDSS as the sole outcome

variable in testing 4-AP. (Tr. (Goodman) 546:1-4.) Dr. Goodman agreed, advising Acorda that

the EDSS was not an effective outcome variable for measuring improvements in walking. (Tr.

(Goodman) 542:19-543:1.)

        200.    Plaintiffs have advanced no evidence showing that the administration of 4-AP in

the 1994 Elan study failed to provide the therapeutic benefits of Ampyra®, namely improved

walking as demonstrated by increased walking speed. (JTX-076.) Likewise, Plaintiffs have also

advanced no evidence that Ampyra® succeeded where this 1994 Elan study allegedly failed,

namely by demonstrating an improvement in EDSS score. In other words, Plaintiffs have not

shown that Ampyra® succeeded where others had failed.

        201.    Dr. Goodman also contends that Sanofi-Aventis failed to create a therapy like

Ampyra®. According to Dr. Lublin, the failure of nerispirdine is evidence that it was very

difficult to develop an agent that would reliably improve walking in MS patients. (Tr. (Lublin)

413:4-10.) Nerispirdine and 4-AP, however, are not the same drug. (Tr. (Lublin) 419:7-24; Tr.

(Peroutka) 704:21-705:2.)       In addition, while both drugs are potassium channel blockers,

nerispirdine is also a sodium channel blocker. (Tr. (Lublin) 419:25-420:8; Tr. (Peroutka) 705:6-

20; JTX-076 at 4-5.) The formulation of nerispirdine that failed was also an immediate release

and not a sustained release formulation. (Id. at 420:9-12.) And the claimed invention here

relates to the 4-AP dosing regimen, not the compound itself. Sanofi-Aventis did not fail to

improve walking speed in MS patients using a sustained release 10 mg b.i.d. formulation of 4-AP

and, therefore, its project as to nerispirdine is not relevant to this case.

        D.      Amyyra® is Not a Commercial Success

        202.    Plaintiffs’ expert, Dr. Bell, testified that Ampyra® has been a commercial success

because it has generated over $1.7 billion in sales in the U.S., resulting in approximately $1


                                                 - 48 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 53 of 60 PageID #: 7059



billion in accounting profits for Acorda. (Tr. (Bell) 578:1-6.) Dr. Bell further relied on the

growth rate in sales since 2010, which show a growth of 8% per year in tablets sold and a 20%

per year growth in sales revenue. (Id. at 579:2-8.) Dr. Bell also contends that Acorda’s license

to Biogen to commercialize a 4-AP product outside the U.S. shows that Ampyra® is a

commercial success. (Id. at 581:22-583:1.)

       203.   Although he has done so in previous cases where he analyzed commercial

success, Dr. Bell did not compare the sales, price, or market share of Ampyra® to any other

drug. (Tr. (Bell) 611:8-612:20.) Dr. Bell’s commercial success analysis does not provide

context for Ampyra® sales. (Tr. (McDuff) 635:2-20.)

       204.   Dr. McDuff explained that commercial success may be considered in the context

of obviousness because “[t]he idea is that if an invention is obvious and it’s a commercial

success, the market . . . would have brought that product to market sooner.” (Tr. (McDuff)

628:16-20.) Thus, the question on commercial success is whether, with sales now known, how

strong would the incentive for development have been, if any? (DDX 8-5.) As Dr. McDuff

explained, the incentive for development cannot be measuring only by the sales of the drug once

it is on the market, but rather should include the costs that would be incurred to bring that

product to market—the commercialization costs. (Id. at 630:3-10.)

       205.   All aspects of the pharmaceutical development process of a product, including

research and development, clinical development, clinical trials, FDA approval, and sales and

profits, are relevant to an analysis of commercial success. (Tr. (McDuff) 628:24-629:11.) These

factors should be evaluated in order to determine whether the sales and profits of a

pharmaceutical product are large enough to make an inference about the commercial opportunity

or the economic incentives, back at the time of the alleged invention. (Tr. (McDuff) 629:7-11.)




                                             - 49 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 54 of 60 PageID #: 7060



       206.    Unlike Dr. Bell’s analysis, Dr. McDuff’s analysis of the commercial success of

the product accounted for comparisons with pharmaceutical industry benchmarks, comparisons

to other drugs, and an evaluation of Ampyra’s® economic profitability. Together, these factors

demonstrate that Ampyra’s® sales and profits do not indicate commercial success and are not

sufficient to have generated economic incentives to bring the product to market sooner. (Tr.

(McDuff) 647:20-25.)

               1.      Ampyra® Had a Limited Commercial Opportunity

       207.    The sales and profits of Ampyra® are not large enough to have made the market

interested in the product.     (Tr. (McDuff) 629:1-4.)       Ampyra® has a limited commercial

opportunity due to “[its] limited label, [its] limited efficacy, and [its] limited patient population.”

(Tr. (McDuff) 630:17-19.)

       208.    Originally, Acorda sought to have Ampyra® approved for a broader indication: to

treat spinal cord injuries as well as MS, generally. (Id. at 630:20-25.) Acorda was not able to

obtain those broader indications, and was instead only approved for the limited purpose of

improving walking in patients with MS. (Id.) With this limited indication, Ampyra® is an

orphan drug with a limited patient population. (Tr. (McDuff) 631:4-8.) Even within the MS

patient population, only 25 to 30 percent of the patients are eligible for Ampyra®. (Id.; see also

JTX-76; DTX-419; DTX-57.)

       209.    When compared to pharmaceutical industry benchmarks, sales of Ampyra® are

not impressive. For example, Ampyra’s® sales are just a fraction of the top two decile drugs.

(Tr. (McDuff) 632:16-633:8.) At best, Ampyra’s® sales are average, which it puts it at or

around the break-even point, economically. (Tr. (McDuff) 633:9-13.)

       210.    When compared to other MS drugs, Ampyra® is just a fraction of top-selling MS

drugs and just two to three percent of the top ten MS drugs in terms of revenue. (Tr. (McDuff)


                                                - 50 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 55 of 60 PageID #: 7061



633:22-634:2.)

       211.      Dr. McDuff also evaluated Ampyra’s® commercial opportunity by comparing it

to other orphan drugs, finding that some orphan drugs (including other MS drugs) are able to

achieve a very high revenue per patient. (Tr. (McDuff) 634:7-14.) Ampyra®, by contrast, has a

low revenue per patient, again suggesting that the commercial opportunity was limited. (Tr.

(McDuff) 634:7-17.)

                 2.     Given the limited opportunity, the opportunity costs, and risks,
                        Ampyra® was not economically profitable

       212.      According to the published literature on the subject, the economic costs of

developing a pharmaceutical product include: (a) out-of-pocket costs or direct expenditure

dollars; (b) success rates; (c) development time; and (d) costs of capital. (Tr. (McDuff) 642:12-

18; 688:5-14; see also JTX 88; JTX 44.) Considering all of these costs, the leading literature

from DiMasi et al. estimates that the total cost of commercializing a new chemical entity

receiving FDA approval between 2005-2013 with clinical testing initiated between 1995-2007 is

$2.588 billion per approved drug. (Tr. (McDuff) 649:8-20.)

       213.      Dr. McDuff considered the characteristics of the drugs included in the DiMasi

paper and concluded that Ampyra® “fits squarely in the type of drug that’s analyzed in that

[DiMasi] research.” (Tr. (McDuff) 639:21-640:4.)

       214.      Dr. McDuff used the DiMasi estimate as a starting point, then tailored his analysis

to make it specific to Ampyra®, including adjustments for the lower clinical costs of orphan

drugs, the higher costs for drugs related to the central nervous system, and an adjustment based

on the specific timing of Ampyra’s® launch. (Tr. McDuff) 640:5-17.) These adjustments were

based on other peer reviewed literature on the commercialization costs of drugs. (id. at 640:18-

20.)



                                                - 51 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 56 of 60 PageID #: 7062



       215.    Dr. McDuff concluded that the appropriate economic cost estimate for Ampyra®

is $2.564 billion, which represents the value of the costs at the time of FDA approval. (Tr.

(McDuff) at 640:22-641:2, 641:20-642:2.)

       216.    Dr. McDuff then compared Ampyra’s® economic costs to its profits using a

discount rate of 15%, a common rate used to evaluate risk in the pharmaceutical industry. (Tr.

(McDuff) 641:20-642:18.) Dr. McDuff found that the value of Ampyra’s® profits represent only

$1.48 billion, resulting in “a negative present value to relative to the total economic cost of 1.08

billion of loss.” (Tr. (McDuff) 642:14-18.) Even with sales projected until 2027—the latest

expiration date of any of the patents-in-suit—Ampyra® will not achieve economic profit. (Tr.

(McDuff) 638:19-21.) These sales and profits are not large enough to generate a worthwhile

commercial opportunity for Ampyra®. (Tr. (McDuff) 643:9-12.)

       217.    Plaintiffs’ expert, Dr. Bell, offers two critiques to Dr. McDuff’s analysis, namely

that Ampyra® (a) should have a higher success rate than the average drug, and (b) has lower

preclinical costs because the compound already existed. (Tr. (Bell) 643:17-645:6.) Both of

these critique are unsupported and do not change the resulting commercial success conclusion, in

any event.

       218.    First, Plaintiffs have failed to provide evidence to show Ampyra’s® actual

commercialization costs. (Tr. (McDuff) 638:17-19.) Plaintiffs have also failed to provide

evidence to show Ampyra’s® actual preclinical costs. (Tr. (McDuff) 645:19-21.)

       219.    Dr. McDuff considered Dr. Bell’s critiques, and found that the higher success rate

of orphan drugs relied upon by Dr. Bell is the result of factors that are inapplicable to Ampyra®.

(Tr. (McDuff) 644:2-7.) For example, Dr. McDuff noted that orphan drugs may have a higher

success rates if they are genetic modifications of a drug, genetic mutations of a drug, or a




                                               - 52 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 57 of 60 PageID #: 7063



treatment relating to a specific protein. Id. Ampyra® does not fall into these categories.

       220.    Nevertheless, Dr. McDuff considered Dr. Bell’s claim that the success rate should

be 22%, and found that the adjustment would result in $431 million less in costs, still resulting in

an economic profit of negative $650 million when sales are projected to 2027. (DDX 8-19.)

       221.    Dr. Bell also claimed that the success rate for Ampyra® should have been 100%

and the pre-clinical costs should be $0 if the asserted claims of the patent-in-suit were obvious.

(Tr. (McDuff) 644:16-20.) But, Dr. Bell admitted that even if an invention is obvious, there is

still an economic cost associated with opportunity costs, such as the cost of capital and the time

value of money. (Tr. (Bell.) at 609:20-611:7; Tr. (McDuff) 644:16-645:2.) Thus, Dr. McDuff

concluded that using any plausible estimate for commercialization costs, and projecting sales

until 2027, Ampyra® would not turn an economic profit. (Tr. (McDuff) 646:14-20; DDX 8-19;

DDX 8-20.)

       222.    Plaintiffs suggest that the $150 million in licensing fees earned by Acorda on

sales of dalfampridine outside the US will add to the commercial success of Ampyra®. Even if

these sales were added to the analysis, however, the revenue would still largely fall below the

commercialization cost.    (Tr. (McDuff) 646:25-647:8.)       In addition, the fact that Acorda’s

marketing spend and sales force decreased after launch is irrelevant, because those trends are

typical, not unusual, in the pharmaceutical industry. (Tr. (McDuff) 647:9-19.)

       223.    Lastly, the presence of ANDA filers does not, in and of itself, indicate

commercial success. (Tr. (McDuff) 629:25-630:10.) Sales may be large enough to warrant

economic interest from generic suppliers, but branded companies incur substantial costs in the

research, regulatory, and approval processes that are not incurred by generic suppliers. (Id.)

       224.    Accordingly, when put in the proper context, Ampyra® sales and profits do not




                                               - 53 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 58 of 60 PageID #: 7064



demonstrate a commercial success. (Tr. (McDuff) at 634:18-24.)

               3.      The Elan patent has served as a blocking patent, limiting the
                       relevance of any success for the Acorda patents

       225.    Even if there were evidence of commercial success, Dr. McDuff found that the

Elan patent would have served as a blocking patent that limited the economic relevance of

commercial success, if any, relating to the Acorda patents. (Tr. (McDuff) 648:1-16.)

       226.    The Elan patent is listed in the FDA’s orange book for Ampyra® and issued in

1996. (Tr. (McDuff) 648:17-20.) This listing is effectively a notice to others that the Elan patent

covers the Ampyra® product. (Tr. (McDuff) 648:21-25.)

       227.    In 1997, Elan provided Acorda with an exclusive license for spinal cord injury.

(Tr. (McDuff) 650:8-15.) In April 1998, Elan provided Acorda with an exclusive license for

MS. (Id.) Thus, there was only a very narrow window of time (e.g., less than two years)

between issuance of the Elan patent in 1996 and the exclusive license in January 1997 and 1998.

(Tr. (McDuff) 652:1-9.)

       228.    Elan’s exclusive license with Acorda meant that Acorda was the only entity that

could get access to the Elan patent. (Tr. (McDuff) 650:19-651:1; JTX-001, 002, 003, 004, 005,

006, 020, and 021.) Elan was subsequently granted a patent term extension by the Patent Office,

meaning that the patent does not expire until 2018. (Tr. (McDuff) 649:23-650:3.) The Elan

patent serves as a blocking patent to this day, and will until its expiration in 2018. (Tr. (McDuff)

649:14-18.)   This significantly limits material economic incentives for other companies to

develop a 4-AP product, because the Elan patent broadly claims any sustained release form of 4-

AP used to treat MS. (Tr. (McDuff) 648:1-13.)

       229.    Plaintiffs put forth no evidence that Elan was willing to license or did license the

Elan patent to anyone else besides Acorda. (Tr. (McDuff) 651:10-17.) Plaintiffs put forth no



                                               - 54 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 59 of 60 PageID #: 7065



evidence that Elan even attempted to license the Elan patent to anyone else besides Acorda. (Id.

at 651:18-21.) Nor did Plaintiffs offer evidence about the terms of any proposed license for the

Elan patent between Elan and anyone besides Acorda. (Id. at 651:22-25.)

               4.      At best, the claimed nexus of Ampyra® to the patents-in-suit is weak

       230.    Any connection or nexus between any commercial success of Ampyra® and the

claims of the patents-in-suit is weak. The 4-AP compound, which has existed for many years, is

the primary basis for the clinical efficacy of the drug Ampyra®. (Tr. (McDuff) 653:3-10; Tr.

(Peroutka) 707:1-8.) Neither the Elan patent’s claimed sustained release nor the Acorda patents’

optimal dose of 10 mg b.i.d. dosing is the primary driver of Ampyra’s® sales. (Tr. (McDuff)

653:11-15; Tr. (Peroutka) 707:1-8.) The 15 mg or a 20 mg product would be just as clinically

effective as a 10 mg product. (Tr. (McDuff) 653:19-25; Tr. (Peroutka) 707:9-20.) From a or

commercial success perspective, sales would essentially be unchanged if Acorda sold a 15 mg or

20 mg product. (Id.)

       231.    There is no evidence linking the use of Ampyra® with the claimed innovations of

the patents-in-suit. Nor was any evidence put forth by Plaintiffs that 10 mg was “the optimal

dosing or the sustained release being the driver of sales.” (Tr. (McDuff) 654:5-10; Tr. (Peroutka)

707:9-20.)

Dated: September 30, 2016                              PHILLIPS, GOLDMAN, MCLAUGHLIN &
                                                       HALL, P.A.

                                                       /s/ John C. Phillips, Jr.
                                                       John C. Phillips, Jr. (#110)
                                                       Megan C. Haney (#5016)
                                                       1200 North Broom Street
                                                       Wilmington, DE 19806
                                                       (302) 655-4200
                                                       jcp@pgmhlaw.com
                                                       mch@pgmhlaw.com




                                              - 55 -
Case 1:14-cv-00882-LPS Document 263 Filed 09/30/16 Page 60 of 60 PageID #: 7066



                                              Attorneys for Defendants Apotex Corp.,
                                              Apotex Inc., Teva Pharmaceuticals USA
                                              Inc., Roxane Laboratories, Inc.

                                              Of Counsel:

                                              Charles B. Klein
                                              Samuel S. Park
                                              Bryce A. Cooper
                                              WINSTON & STRAWN LLP
                                              35 West Wacker Drive
                                              Chicago, Illinois 60601
                                              (312) 558-5600

                                              Attorneys for Defendants Apotex Corp.,
                                              Apotex Inc., Teva Pharmaceuticals USA
                                              Inc., and Roxane Laboratories, Inc.

                                              MORRIS JAMES LLP

                                              /s/ Mary B. Matterer
                                              Richard K. Herrmann (#405)
                                              Mary B. Matterer (#2696)
                                              500 Delaware Avenue, Suite 1500
                                              Wilmington, DE 19801
                                              (302) 888-6800
                                              rherrmann@morrisjames.com
                                              mmatterer@morrisjames.com

                                              Of Counsel:

                                              Robert L. Florence
                                              Karen L. Carroll
                                              Michael L. Binns
                                              PARKER POE ADAMS & BERNSTEIN
                                              LLP
                                              3355 Lenox Road, Suite 750
                                              Atlanta, GA 30326

                                              Attorneys    for     Defendant      Mylan
                                              Pharmaceuticals Inc.




                                     - 56 -
